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                       ABBREVIATIONS


  CPC                                   Cost Per Click

  CPM                       Cost Per Mille (thousand impressions)

  GSE                                General Search Engine

   ISA                   Information Services Agreement (for Apple)

 MADA              Mobile Application Distribution Agreement (for Android)

  OEM                         Original Equipment Manufacturer

  PCOL                          Proposed Conclusion Of Law

  PFOF                            Proposed Finding Of Fact

  PLA                                 Product Listing Ad

  ROAS                               Return On Ad Spend

   ROI                               Return On Investment

  RPM                       Revenue Per Mille (thousand queries)

  RSA                      Revenue Share Agreement (for Android)

  SERP                           Search Engine Result Page

  SQR                                Search Query Report

   SVP                          Specialized Vertical Provider




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                                       INTRODUCTION

       Google has exploited its monopoly power to “freeze the ecosystem” of what should

otherwise be a vibrant and competitive industry. See Proposed Finding Of Fact (PFOF) ¶ 1120.

For more than a decade, Google has dominated the markets for general search services and

search advertising. This trial exposed Google’s efforts to control how Americans access

information on the Internet and the lengths it has taken—and continues to take—to illegally

maintain its power. Rather than compete on the merits, Google has protected its monopoly power

by engaging in exclusionary conduct that thwarted competition and suppressed threats to its

dominance. It is clear that amassing and protecting power is important to Google because it

spends more than $20 billion each year to pay for defaults and restrictive contracts, which is

more than      times the $    billion Google invests in research and development for search. See

PFOF ¶ 597.

       Over 10 weeks at trial, testimony and documents painted a sobering picture of how

Google’s conduct subverted the competitive process and harmed consumers. Google told the

public that Internet search markets were open and competitive, claiming “competition is a click

away.” See PFOF ¶ 933. At the same time, Google paid billions to lock up search queries for

itself, deprive rivals of scale, and thwart entry by innovative competitors. Google publicly

boasted about its popularity with customers, but privately its executives made clear that they

would not “wast[e] our valuable time” on privacy improvements without evidence that Google

was losing users. PFOF ¶ 1146. And while Google claimed the search advertising markets were

competitive, it manipulated ad auctions and openly acknowledged that it could raise prices 20%

year over year without regard to its competitors.
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       What Google says and what the evidence shows are plainly at odds. Google is not

focused on spending its money, attention, and time on improving general search and search

advertising because it does not have to. Recognizing how such evidence would land with the

public, regulators, and courts, Google attempted to obscure these facts. It destroyed internal

communications that likely would have cast an even harsher light on its conduct. Google also—

as a matter of corporate policy—stretched and manipulated the attorney-client privilege to serve

its business objectives. Despite these efforts the record is clear: consumers have little choice, lose

out on better products, and sacrifice their privacy—with advertisers paying higher prices—

because there are no meaningful alternatives to Google.

       During this litigation, Google has attempted to recast its anticompetitive conduct as

protected by some imaginary de facto business judgment rule. But its cramped interpretation of

the Sherman Act is contrary to a plain reading of the law. Over 100 years of Supreme Court

precedents makes clear that there are some things a monopolist like Google cannot do. And this

is why the United States and 52 states and territories, working on behalf of the public, were

compelled to act. Americans, not Google, should have the power to choose where and how they

get information and to make informed decisions about their lives. The Court’s intervention is

required to redress the consequences of Google’s monopolies and ensure Americans regain

access to vibrant, open information markets. For the reasons demonstrated below, the Court

should find Google liable for its decade-long violations of Section 2 of the Sherman Act.

                                    FACTUAL OVERVIEW

       Google has recognized the power of defaults and the importance of scale for two

decades—and built its business strategy accordingly. In 2003, Dr. Hal Varian sent Google’s

founders a memo with two recommendations that would shape the market for general search




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engines and ensure Google’s control of it. First, recognizing that early innovation had already

made Google the “dominant” search engine in the United States, Dr. Varian recommended that

Google protect that dominance by seeking to raise the costs of users switching to rival search

engines. PFOF ¶ 1225. Second, Dr. Varian warned Google’s executives to avoid creating written

communications that could be used against the company in a future antitrust suit. Id.

       Google took both recommendations to heart. It now pays more than $20 billion each year

to be the default search engine for nearly every search access point on mobile phones sold in the

United States. Google pays so much to control these defaults because they allow Google to enjoy

an insurmountable advantage over its rivals. And—vital to the integrity of this litigation—as

early as 2008, Google took steps to hide records of its business decisions from scrutiny.

Google Tied Up the Search Market with Distribution Agreements

       Google’s efforts to obtain control over key distribution points for search engines started

the following year, in 2004, when Google offered Mozilla revenue share for distribution on its

Firefox browser. Then, in 2005, Google volunteered to pay Apple a share of search revenues to

be set as the Safari browser’s default search engine.

       Google’s efforts accelerated in 2007. That year, a researcher working with Dr. Varian

concluded that the best way for a general search engine to grow or defend market share was to be

the default home page in a user’s Internet browser. The research found that defaults could be

“a powerful strategic weapon” against Google’s then-primary rivals, Yahoo, and Microsoft,

because the defaults were more important than search quality in protecting market shares. PFOF

¶ 879 (citing Tr. 170:15–24; UPX0123 at -485); PFOF ¶ 878.

       Supported by Dr. Varian’s efforts, the defaults analysis was shown to and adopted by

Google’s top executives, including then-CEO Eric Schmidt and future-CEO Sundar Pichai. The




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“power of defaults” underlined the strategy that Google proceeded to follow for the next twenty

years: pay to make Google the default so users face higher switching costs in choosing rival

search engines. PFOF ¶¶ 799, 870–871. Google turbocharged its funding for default home pages

on desktop computers. To make itself the out-of-the-box default search engine across different

search access points, Google offered revenue share to all potential distributors. As new defaults

on phones became available, Google applied the “power of defaults” analysis to the new and

growing mobile search access points, and paid accordingly.

       For Apple devices, Google’s revenue share payments have ballooned to more than

$20 billion each year. PFOF ¶¶ 12, 935. But those payments would stop if Apple ever changed

Safari’s preset default—as Google has made clear. In 2007, as Apple prepared to launch a

version of its Safari browser for Windows, the company planned to offer users a choice screen

for selecting the default search engine. In response, Google informed Apple: “[n]o default

placement – no revenue share.” PFOF ¶ 749 (citing UPX0072 at -216). All or nothing. So Apple

withdrew the idea, taking the money instead. PFOF ¶¶ 750–751. Google similarly snuffed out the

possibility that Apple might distribute versions of Safari with Yahoo on the start page,

PFOF ¶¶ 752–754, and rejected Apple’s request to control who had the default for each device

sold with Safari, PFOF ¶ 758–760. Again, in 2012, when Apple sought flexibility for using

Google as the search default, Google refused. PFOF ¶ 761.

       Google took a similar approach to the Android ecosystem. In 2005, Google purchased the

Android operating system, and by 2008 the first Android smartphone hit the market, along with

an Android app store. By 2009, Google realized that obtaining defaults was not enough—to

protect against any chance a rival could compete for searches on a device, Google needed to




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ensure that it was the only default. From that time forward, Google demanded “default

exclusivity” when negotiating revenue share on Android devices.

       Over time, Android contracts morphed into two interlocking distribution and revenue

share agreements. These contracts control the most important Android search access points and

ensure that rival search engines are kept off Android phones. Under the Mobile Application

Distribution Agreement (MADA), original equipment manufacturers (OEMs) license a bundle of

Google’s applications, including the Play Store, YouTube, and Google Maps. PFOF ¶¶ 235, 779.

Given that the Google Play Store is a must-have for Android devices, it is not commercially

feasible for an OEM to ship Android devices without the Google Play Store preinstalled.

PFOF ¶¶ 240, 780. Any Android OEM that rejects the MADA loses access to the Play Store and

effectively turns its phones into “brick[s].” PFOF ¶ 240 (citing Tr. 3517:6–25). Under the

MADA, to preinstall any of these applications on an Android device, OEMs must (1) place the

Google Search Widget on the homescreen and (2) preinstall Chrome with Google set as the

default search. PFOF ¶¶ 245, 247, 248.

       Through its Revenue Share Agreement (RSA), Google pays OEMs and wireless carriers

to exclude Google’s rivals from Android devices. PFOF ¶ 258. Between 2010 and 2020, Google

used RSAs to obtain platform exclusivity for certain carriers. That is, in exchange for revenue

share, every phone sold by those carriers needed to have every search access point default to

Google. In 2020, with this lawsuit looming, Google retooled the RSAs to add a veneer of non-

exclusive revenue tiers and device-by-device exclusivity. But the essence remained the same:

to avoid losing billions from Google, carriers and OEMs had to block all of Google’s rivals from

their phones. PFOF ¶¶ 259–261. And Google’s 2020 changes had no impact on search access




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points covered by the MADA, which account for 60% of the search revenue on Android devices.

PFOF ¶¶ 796, 815.

Google’s Distribution Agreements Deprive Rivals of Scale

       Google’s distribution agreements deprive rivals of the scale necessary to compete

effectively. At trial, all fact witnesses acknowledged that user-side data—data generated by user

interactions with a search engine—is and always has been a vital input for general search

engines. PFOF ¶¶ 159, 163–166.

       Google’s focus on user data goes back to when search was confined to desktop

computers. Google began logging user-side data and, over time, the information logged has

grown to include links the user chose not to click, how much time a user spent on the linked

page, and user scrolling. PFOF ¶¶ 160, 1155. After search began appearing on phones, Google

started logging information about user location, swipes, and other user-related movements.

PFOF ¶¶ 1003–1004. This data is now vital to every aspect of search, including figuring out

where and when to crawl specific websites, how to index the information retrieved from that

crawl, what documents to retrieve from the index in response to a user query, and how to rank

the retrieved items. Some elements of Google’s search engine are trained on 13 months of data—

a volume that would take Bing over 17 years to accumulate. See PFOF ¶ 988.

       Initially, Google bragged about the advantage that scale gave the company in search.

See PFOF ¶ 166. But in 2010, after antitrust concerns were raised about Google’s size, the

company took a different approach with its public statements: externally, Dr. Varian called the

idea that scale mattered “bogus,” while internally Google’s top search engineers were adamant

that “[w]e make very good use of everything we get.” PFOF ¶ 203 (citing UPX0178 at –433);

PFOF ¶ 205 (citing UPX0179 at -435).




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       Because data from mobile is especially useful in answering mobile queries, Google’s

enormous advantage in mobile search gives the company an insurmountable (and growing)

advantage in scale and, thus, quality on mobile devices. PFOF ¶¶ 979–980. Finally, because

scale has long played an important role in identifying and testing search engine improvements,

Google’s scale advantage remains an insurance policy against future competition.

Google’s Conduct Harms Competition

       By controlling search defaults, Google ensures that it has—and will always have—more

scale than any other general search engine. This scale gives Google an impenetrable advantage,

which, when coupled with Google’s control of the relevant advertising markets, allows Google to

monetize its searches in ways that rivals cannot.

       Google sells advertising through auctions designed and controlled exclusively by

Google—a process so devoid of competition that advertisers have no ability to negotiate pricing

or switch to other platforms. Indeed, Google sets ad prices at will without considering what

rivals are charging; the company’s unconstrained ability to raise prices costs advertisers billions

of dollars per year. This money is then funneled back into defaults.

       Google’s defaults, scale, and monetization turn in a self-reinforcing cycle. Google’s

defaults lead to scale advantages over rivals which make it harder for these rivals to compete on

quality. The struggle to compete on quality makes it harder for rivals to compete on price. The

absence of price competition makes it easier for Google to reap the profits associated with its

monopoly, which Google then uses to pay for distribution contracts. This cycle sits as a barrier to

the growth and entrance of rivals, thereby harming competition, advertisers, and consumers.

       This was all to plan. In 2003, Dr. Varian wrote “Look at it this way: We are currently a

dominant player in an industry, and we are trying to discourage entry by a potential competitor.”




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PFOF ¶ 1225 (citing UPX0151 at –162). In 2024, Google has long since achieved this goal.

Rivals invest less (knowing that significant improvements will not result in higher profits); users

accept lower quality (because there are no rivals to drive Google forward); and advertisers pay

more for ads (because there is no close alternative).

Google Hid Evidence of Its Antitrust Violations

       As early as 2003, Google’s key executives recognized its strategy to insulate itself from

competition would attract scrutiny. Google therefore took extraordinary measures to curate its

communications. Google trained employees not to use certain words—like “market,” “network

effects,” or “scale”—in emails and letters. PFOF ¶ 1226 (citing UPX1066 at -880). Further,

Google instructed employees negotiating search distribution agreements to manufacture fake

claims of privilege for every document discussing RSAs and MADAs. Any written

communication about privacy—a competitive feature in search—was cloaked under the veil of

privilege. Google’s internal lawyers, aware of this practice, did not bother responding to requests

for advice they knew to be fake. And in 2008, in an email authored by its present Chief Legal

Officer Kent Walker, Google announced that it was changing the default for its company chat

system to history-off, meaning chats were automatically deleted after 24 hours. PFOF ¶ 1199.

Mr. Walker candidly explained that this change would ensure that internal communications

could not be used by regulators, litigants, or anyone adverse to Google. Id. Google continued this

systematic destruction of employee chats for the next 15 years. PFOF ¶ 1200.

       None of this was an accident. Google understood the power of defaults and scale long

before most others. It came to understand the power of search advertising and the profits it could

drive. But it also understood that its strategy of locking out rivals was rife with antitrust risk. To

manage this risk, Google took extraordinary—and improper—steps to control the evidentiary




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record. The day of reckoning Google has long feared has arrived, and though the Court cannot

see the evidence that has been hidden or destroyed, the evidence that survived and was presented

at trial is overwhelming and establishes a clear Section 2 violation.

                                    LEGAL FRAMEWORK

       Plaintiffs establish a prima facie monopoly maintenance claim by demonstrating “the

possession of monopoly power in the relevant market” and “the willful . . . maintenance of that

power as distinguished from growth or development as a consequence of a superior product,

business acumen, or historic accident.” Proposed Conclusion Of Law (PCOL) § I (citing United

States v. Grinnell Corp., 384 U.S. 563, 570–71 (1966)). As demonstrated below and at trial,

Google possesses monopoly power in the markets for general search services, search advertising,

and general search text ads. Google has illegally maintained that power by signing distributors to

exclusive contracts, depriving rivals of the scale necessary to compete and stopping potential

rivals—including Apple—from entering the relevant markets. Considered individually or taken

together, this conduct is prima facie unlawful under Section 2 of the Sherman Act. PCOL § IV.

       In response, Google may establish a sufficient non-pretextual “procompetitive

justification” for its conduct. PCOL §§ I, V. If Google makes that showing, Plaintiffs must

demonstrate that the anticompetitive harm outweighs the procompetitive benefit. PCOL § I

(citing United States v. Microsoft Corp., 253 F.3d 34, 58–59 (D.C. Cir. 2001) (en banc)); id. § V.

Google has not established any procompetitive justifications for its conduct. PCOL § V.A. Even

if it had, any supposed benefits are outweighed by the substantial harms users and advertisers

suffer from Google’s conduct. PCOL § V.B.

       Agreements that limit rivals’ access to important distribution channels are properly

analyzed under a general exclusionary standard. PCOL § IV.B. Under this standard, Google’s




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distribution agreements are illegal because they harm the competitive process. PCOL §§ IV.A–

B. Further, exclusionary conduct that deprives rivals of scale is sufficient to establish an antitrust

violation under Section 2. Id. Google argues its agreements should be evaluated under an

exclusive-dealing framework. But even if applying an exclusive dealing framework, see

Summ. J. Opinion, ECF No. 624 at 30–31, Microsoft rejects a rigid test that requires

mathematical precision and instead instructs that any exclusive dealing analysis requires only a

showing that the challenged agreements create a “substantial” degree of foreclosure. PCOL

§§ IV.C–D (citing Microsoft, 253 F.3d at 68–70). Courts routinely measure foreclosure by

determining the volume of distribution closed off to rivals (i.e., coverage), not the volume of

sales they would have won if that distribution were available. PCOL §§ IV.C.2–D.1.

                                            ARGUMENT

I.       Plaintiffs Have Properly Defined The Relevant Markets

         General search services, general search text ads, and search ads each constitute a relevant

product market because there are no other products that are “reasonably interchangeable” with

them.1 See PCOL § II.A.1 (citing United States. v. H&R Block, Inc., 833 F. Supp. 2d 36, 54

(D.D.C. 2011)). The relevant geographic market for all three products is the United States.

         Courts apply “a pragmatic, factual approach to the definition of the relevant market and

not a formalistic, legalistic one.” PCOL § II; Brown Shoe Co. v. United States, 370 U.S. 294, 336

(1962). In Brown Shoe, the Supreme Court identified several practical indicia of relevant

markets, including (1) peculiar characteristics and uses, (2) unique production facilities,

(3) distinct prices and sensitivity to price changes, (4) distinct customers, (5) industry

recognition, and (6) public recognition. See PCOL § II.A (citing 370 U.S. at 325).


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     In their separate brief, Plaintiff States address the additional general search advertising market
     they have also alleged. Plaintiff States’ Post-Trial Brief at 7–18.


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       A.      General Search Services Is A Relevant Product Market

       General search services provide one-stop shopping for user queries and, based on the

Brown Shoe factors and evidence introduced at trial, constitute a relevant product market.

               1.     Peculiar Characteristics And Uses

       Four significant general search engines provide general search services in the United

States: Google, Bing, Yahoo, and DuckDuckGo. PFOF ¶ 73. As Google conceded at trial, Bing

is its most significant competitor. PFOF ¶ 77. Only Google and Bing have the capacity to

respond in volume to general searches. PFOF ¶¶ 75–76. Nearly all other GSEs syndicate some or

all their search results from Google or Bing. PFOF ¶ 76. Neeva offered its own ads-free search

results before shutting its doors in May 2023. PFOF ¶¶ 39–40, 78.

       GSEs answer a wide range of queries (both commercial and non-commercial) by

providing “ten blue links” culled from an index of the world wide web. PFOF ¶¶ 57, 61. These

organic results appear on the search engine results page, or SERP, PFOF ¶ 60, along with search

features (such as knowledge panels, maps, images, and videos) and sometimes advertising.

PFOF ¶ 62. These organic results are fundamentally different from those proffered by specialized

vertical providers (SVPs) like Amazon or Expedia. PFOF ¶ 383. About 80% of queries entered

on Google are non-commercial and cannot be meaningfully answered by SVPs. PFOF ¶ 383;

see also PFOF ¶ 90 (Google serves ads in response to only about 20% of queries).

       Further, only GSEs answer all types of commercial queries. For example, if a user wants

to find a plumber, a doctor, or a music teacher, Google and Bing—but not Amazon or Expedia—

can provide relevant results. See PFOF ¶¶ 378, 383. Elizabeth Reid, Google’s VP of Search,

testified that GSEs “are aiming to answer any query, as is Google.” PFOF ¶ 325 (citing

Tr. 8266:19–25). In contrast, she explained that Expedia and Yelp “are not aiming to answer all




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queries.” PFOF ¶ 380 (citing Tr. 8268:6–7). Thus, GSEs share unique characteristics that make

them invaluable to users.

       As one-stop shops, only GSEs can serve as the out-of-the-box search default for a

browser or device. PFOF § IV.A.1.c; PFOF ¶¶ 151–152. Mozilla’s CEO, Mitchell Baker,

testified that Firefox has never considered Amazon or Facebook as a default search engine

because installing something other than a GSE would harm the user experience. PFOF ¶ 334.

Similarly, for leading browsers such as Chrome and Safari, only GSEs are offered should the

user seek to change defaults. PFOF ¶¶ 335–336. This recognizes that, from a user’s perspective,

GSEs are unique.

               2.     Unique Production Facilities

       To provide broad-based information, GSEs must crawl much of the open internet (or

syndicate results from a GSE that does). PFOF ¶¶ 65, 67, 74. GSEs then turn their copy of the

web into searchable databases, or indexes. See, e.g., PFOF ¶ 68. Crawling and indexing requires

gathering and organizing links from billions of websites on the open web. PFOF ¶¶ 67–68. Then,

in response to a query, the GSEs must provide the most relevant portion of that indexed

information. PFOF ¶ 70–72. The technology and engineers required for GSEs to perform these

tasks cost billions of dollars each year. PFOF ¶ 538.

       SVPs neither make the investment in crawling and indexing the web, nor in contracting

with those who maintain search indexes. Thus, SVPs possess substantially different production

facilities from GSEs. PFOF § IV.A.4.b, ¶ 375.

               3.     Industry Recognition

       Google has long recognized that GSEs are a distinct category. Over many years, Google

has calculated its market share solely among GSEs, PFOF ¶¶ 341, 349, and recognized that other

GSEs (such as Bing) are its closest competitors. PFOF ¶ 351. As Dr. Varian once explained: “[I]f


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Google were to disappear, people would just switch to Bing.” PFOF ¶ 351 (citing UPX0340 at

-059). Internally, Google compares the quality of its search engine results page to general search

rivals like Bing and DuckDuckGo—but not to firms like Amazon or Facebook. PFOF ¶ 355.

Perhaps most tellingly, Google’s distribution contracts with Android OEMs and carriers only

prohibit partners from preinstalling other GSEs. PFOF § IV.A.1.e.v.–vi. Thus, Google bars its

partners from preinstalling Bing or DuckDuckGo—but not Amazon or Facebook.

       Apart from Google, other industry participants—such as browser companies—similarly

recognize that GSEs form a distinct product, PFOF § IV.A.1.f, and that SVPs and social

networks are not like GSEs. PFOF ¶ 384.

               4.      Public Recognition

       Consumers likewise recognize GSEs as a distinct product. PFOF § IV.A.1.b, ¶ 328

(citing Tr. 3670:6–18) (Dr. Ramaswamy: a GSE is “what we would turn to . . . when we have

like any information task generally in mind”). Users recognize that GSEs provide a source of

information on any topic. PFOF ¶¶ 327–328. GSEs thus save consumers the time and mental

effort otherwise required to determine the best place to conduct each search, PFOF ¶ 329—

a convenience reinforced by GSEs being the default on the most popular search access points.

               5.      Other Evidence

       Finally, although a hypothetical monopolist test (an economic tool for identifying

reasonable interchangability) is not required to define a relevant product market, it can be useful.

PCOL § II.A.1. The lack of reasonable interchangability between a general search engine and

SVPs helps to confirm Plaintiffs’ market definition. In addition, Google has in fact been able to

avoid investing in quality improvements, PFOF § V.A.4.c, while also degrading quality by

extracting more private user data than what it knows its users prefer, PFOF § V.A.4.a.




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        Based on the Brown Shoe factors and the evidence presented at trial, the Court should

conclude that general search services is a relevant product market. Indeed, Dr. Varian

acknowledged as much when he stated that without general search engines, the world would look

like a “universal library, but with no card catalog.” PFOF ¶ 351 (citing Tr. 196:7–196:25 and

UPX0340 at -059).

        B.     Specialized Vertical Providers Do Not Provide General Search Services

        The Court should reject Google’s claim that SVPs (like Amazon and Yelp) and social

networks (like Facebook and TikTok) are in the general search services market. These services

are not reasonably interchangeable with GSEs.

        As an initial matter, even if GSEs compete to some degree with these firms, that does not

require their inclusion in the relevant product market.2 PCOL § II.A.1; FTC v. Sysco Corp.,

113 F. Supp. 3d 1, 26 (D.D.C. 2015) (“[T]he mere fact that a firm may be termed a competitor in

the overall marketplace does not necessarily require that it be included in the relevant product

market for antitrust purposes.”). Instead, the question is whether SVPs are reasonably

interchangeable for a GSE or whether there would be enough substitution to SVPs to make it

unprofitable for a GSE monopolist to exercise monopoly power. PCOL § II.A.1. The answer is

no.

        For example, Google’s ordinary-course experiments degrading its search quality for

testing purposes showed little user response to quality reductions—indicating firms outside the

market (i.e., specialized search sites and social networks) do not pose a strong competitive

constraint on Google. PFOF § IV.A.3.a.; see infra Argument § II. Further, the growth of



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    In Section 2 monopoly maintenance cases such as this, substitution may simply show that the
    monopolist is already exerting the power to raise price or lower quality, spurring some
    consumers to turn to poor substitutes (i.e., the Cellophane fallacy). PCOL § II.A.2.


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Amazon, Facebook, Instagram, and TikTok over the past decade has not dented Google Search’s

extraordinary revenues and profits. PFOF ¶ 373 (citing UPX7002.A) (booked revenue for

Google Search increased from $46 billion in 2014 to $146 billion in 2021). Indeed, Google

Search reported a higher operating profit margin in 2021 ( %) than in 2014 (     %).

PFOF ¶¶ 594–595 (citing UPX7002.A).

       Google’s ordinary-course analysis confirms that users are not leaving Google for

Amazon or similar websites. Notably, Google’s “Project Charlotte” showed Amazon Prime

loyalty members tend to search more—not less—on Google. PFOF ¶ 385. Thus, Amazon and

Google serve complementary functions. Prabhakar Raghavan, Google’s Head of Search,

explained: “Prime members who in any way intend to shop at Amazon might come to Google

and do a lot of research before they do it.” PFOF ¶ 382 (citing Tr. 7434:22–7435:14). Amazon

recognizes this phenomenon—spending billions of dollars per year advertising on Google.

PFOF ¶ 387. Google has conducted similar analysis, and seen similar results, with other major

online retailers like eBay and Walmart. PFOF ¶ 386. Such retailers, thus, are not in the

GSE market.

       Similarly, users are not leaving Google for social networks. Frequent Facebook users, for

example, search on Google more, not less. PFOF ¶ 377. And understandably so: social networks

serve far different and narrower purposes than a GSE. Social media platforms do not provide

information directly from the open web; rather, social media platforms search only their own

content. TikTok, for example, provides user-generated videos—not links to other websites or

search features such as maps and images. PFOF ¶ 375 (citing Tr. 7420:20–25).




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analyzed, the viability of such additional markets does not render the one identified by the

government unusable.”) (cleaned up).

               1.      Peculiar Uses And Characteristics

       When deciding how to allocate their budgets among different advertising channels,

advertisers often consider a conceptual framework for how consumers make purchase decisions.

PFOF § IV.B.6. At its most basic, a consumer’s journey to a purchase is visualized as a funnel

generally consisting of at least three stages: (1) awareness of the product or service; (2) interest

in, and desire for, the product or service; and (3) purchase of the product or service.

PFOF ¶¶ 447–451. After selecting an advertising channel or combination of channels based upon

its ability to achieve the desired objective—e.g., creating awareness of a product—the advertiser

targets its ads at consumers whom the advertiser believes would be most interested in their

product or service. PFOF ¶¶ 114, 128, 453–454. The goal, of course, is moving consumers to the

funnel’s next stage and ultimately to a purchase. PFOF ¶¶ 84, 448, 453–454.

       Search Ads are the only channel that can be targeted to reach a consumer precisely when

a consumer expresses interest in a product or service, referred to as a moment of “intent.”

PFOF § IV.B.1.a. When a user types “Blue blender on sale” into a search engine, there is a high

likelihood that the user has actual real-time interest in buying a blue blender. PFOF ¶¶ 115–117.

Thus, advertisers view Search Ads as the advertising channel best suited to effectively and

efficiently driving customer acquisition, or any other desired action, also known as harvesting

demand. PFOF § IV.B.1.b–c.

       In contrast to Search Ads, display ads—the other main type of digital advertising, which

includes banner ads and video ads that can be shown on any website including social media

platforms such as Facebook, Pinterest, or TikTok—are not shown in response to a user’s real-

time query. PFOF ¶¶ 88, 108–112. Display ads, lacking real-time signals, are targeted more


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broadly based on weaker, less accurate signals, such as demographics or the user’s past online

activity. PFOF ¶¶ 118–119, 121–122. Thus, advertisers view display ads as better suited for

earlier funnel stages because display ads are more efficient at generating consumer awareness

and interest in a product or service. PFOF ¶¶ 123–127.

       Finally, because Search Ads are uniquely targeted to a query voluntarily shared with the

search engine, their targeting ability is minimally affected by privacy initiatives and limitations

on cookie tracking that diminish the effectiveness of other digital ads. PFOF § IV.B.1.e. In short,

display ads are not reasonably interchangeable with Search Ads. PCOL § II.A.1.

               2.      Unique Production Facilities

       Because Search Ads are served in response to a consumer’s real-time search query, they

can be sold only by a GSE or other large SVP. PFOF § IV.B.3. Building a GSE or SVP capable

of serving relevant responses, selling advertising, and matching ads to the query requires

technical and engineering expertise unique to Search Ads and inapplicable to display ads. Id.

               3.      Distinct Prices And Sensitivity To Price Changes

       Search Ads are primarily sold on a cost-per-click (CPC) basis, meaning that an advertiser

will only be charged if a user clicks on the Search Ad. PFOF ¶¶ 101, 443. Display ads, in

contrast, are typically sold on a cost per 1,000 impressions, i.e., “cost per mille” or “CPM” basis,

meaning that advertisers are charged regardless of whether anyone clicks on their ad.

PFOF ¶¶ 113, 443. Finally, although both Search Ads and display ads are sold in auctions, they

are separate auctions with different rules and features. PFOF § IV.B.1.d.

               4.      Google And Advertising Industry Recognition

       Google, advertisers, and other industry participants recognize that Search Ads are

fundamentally different from display ads. PFOF § IV.B.2. As discussed above, Search Ads are

targeted to a query and therefore better able than other digital ads to reach the consumer at the


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end of the consumer’s purchase journey. PFOF §§ IV.B.1.a–b. Moreover, as the only type of

advertising served in response to a consumer’s real-time, self-expressed declaration of

commercial intent, advertisers, Google, and other industry participants recognize that Search Ads

are unique and do not view them as reasonably interchangeable with other forms of advertising.

PFOF §§ III.C.2.d, IV.B.1.a–b, IV.B.2.

               5.     Other Evidence Search Ads Are A Relevant Market

        A market for Search Ads also satisfies the hypothetical monopolist test because a

hypothetical monopolist—Google—of Search Ads would find it profitable to raise price

significantly above competitive levels (5%) or reduce quality significantly below competitive

levels. PFOF § IV.B.5. The trial evidence demonstrated that Google can and has increased the

prices of search advertising by 5% or more, and has remained profitable. PFOF ¶ 632.

Accordingly, the Court should conclude that Search Ads are a relevant product market.

        D.     Text Ads Are A Relevant Product Market

        Within the broader Search Ads product market, the trial record also supports a narrower

market for general search text ads (Text Ads). Text Ads—which are presented in response to a

real-time query entered on a GSE—are also a relevant antitrust market.4 PCOL § II.A.1 (citing

Sysco, 113 F. Supp. 3d at 48 (holding that both broadline food service distribution and broadline

food service distribution to national customers—entirely contained in the former—were relevant

product markets).




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    Of course, because all Text Ads are Search Ads, the Brown Shoe factors supporting Search
    Ads being in a separate market from other digital ads also support Text Ads being in a
    separate relevant market from those same digital ads.


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              1.      Peculiar Uses And Characteristics

       As a starting point, whereas Search Ads appear in response to queries on both specialized

search engines and GSEs, Text Ads only appear on a GSE’s results page. PFOF ¶¶ 89, 102. Text

Ads, of course, consist primarily of text, PFOF ¶¶ 103–104, and are further distinguishable from

non-text Search Ads because:

          Advertisers select keywords and match types when bidding on Text Ads, which gives
           advertisers uniquely wide latitude in identifying the circumstances under which their
           Text Ads may be shown, whereas advertisers typically do not have the option to
           select keywords or match types when purchasing other Search Ads. PFOF § IV.C.1.a.

          Advertisers typically supply their own ad copy or its components for Text Ads,
           whereas with non-text Search Ads the search engine creates ad copy and content
           based upon advertiser information. PFOF § IV.C.1.b.

          Advertisers can use Text Ads to advertise virtually anything, whereas non-text Search
           Ads can only advertise tangible products or things related to the SVP’s specific
           subject matter. PFOF § IV.C.1.c.

          Advertisers have greater flexibility over a Text Ad’s focal point, whereas other
           Search Ads have a narrower messaging scope reflecting more rigid content
           restrictions. PFOF § IV.C.1.d.

              2.      Distinct Customers

       Advertisers who buy Search Ads predominantly buy Text Ads. PFOF ¶ 480. However,

many purchasers of Text Ads do not buy non-text Search Ads such as shopping ads (or PLAs).

Id. In fact, most search advertisers on Google only buy Text Ads because they are not selling

physical products and cannot buy shopping ads. PFOF ¶¶ 480–481. Conversely, there are some

advertisers that buy Search Ads (perhaps from Amazon) that do not buy Text Ads because the

advertiser does not have a website to which a Text Ad can link. PFOF ¶ 482.

              3.      Unique Production Facilities

       Because Text Ads only appear on a GSE’s SERP, providing Text Ads requires the same

technical and engineering expertise necessary to build and maintain a GSE (as discussed above).



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In addition, serving Text Ads by matching keywords to queries is more technically complex than

serving other Search Ads, and therefore requires additional, different expertise. PFOF § IV.C.4.

               4.      Distinct Prices And Sensitivity To Price Changes

       Text Ads and non-text Search Ads are priced in separate auctions—even by GSEs that

sell both—and Text Ads are generally more expensive than other Search Ads like shopping ads.

PFOF ¶¶ 140, 494. Advertisers can and do target Text Ads and non-text Search Ads for the same

queries and purchase each in separate auctions with independent results. PFOF ¶¶ 140, 491, 495.

               5.      Google And Advertising Industry Recognition

       As established at trial, Google recognizes that Text Ads are distinct from and

complementary to other types of Search Ads because Text Ads are “a different species” and

“siloed in their own world.” PFOF ¶ 483 (citing UPX0440 at -590 (internal Google document

describing shopping ads as “a very different product-based ad format” in comparison to Text

Ads); id. ¶ 484 (citing Tr. 423:12–14 (Shopping ads are a “different species” from Text Ads);

Tr. 1190:9–1191:22 (Internally, Google views Text Ads and shopping ads as “siloed in their own

world” and not in competition with each other.)); PFOF ¶¶ 485–487.

       For these same reasons, advertisers and other industry participants also view Text Ads as

fundamentally different from non-text Search Ads. PFOF ¶¶ 488–489; id. ¶ 490 (citing UPX0915

at -063 (internal Facebook document describing Google shopping ads and Text Ads as “two

distinct products” that are “distinctly different”); id. ¶ 491; id. ¶ 492 (citing Des. Tr. 133:3–24

(Raymond (Kohl’s) Dep.) (it is important for Kohls to buy both search Text Ads and shopping

ads because both work to drive Kohl’s business in different ways).

               6.       Other Evidence That Text Ads Are A Relevant Product Market

       Like the Broader Search Ads market, the Text Ads market also satisfies the hypothetical

monopolist test. Google can and has increased the prices of Text Ads by 5% or more and


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remained profitable. PFOF ¶ 632. In addition, Joshua Lowcock, the Global Chief Media Officer

of Universal McCann, a division of IPG, testified that even if the price of Google’s Text Ads

increased by 5%, he would not recommend that clients move advertising spend elsewhere.

PFOF ¶ 498. As a result, based on the Brown Shoe factors and evidence presented at trial, the

Court should conclude that Text Ads are a relevant product market.

       E.      Spend Shift Does Not Undermine Either Ad Market

       Advertisers’ shifting spend among ad channels to optimize their budgets does not

undermine Plaintiffs’ product markets. PFOF § IV.D.1.

       First, both Google and advertisers find it costly and difficult to calculate ROI (return on

investment) / ROAS (return on ad spend) for specific ad channels and even more so across a

combination of ad channels. PFOF ¶¶ 510–513, 685. Thus, as Google recognizes, many

advertisers cannot measure actual ROI, and instead rely upon other factors to measure ad spend

effectiveness. PFOF ¶¶ 507, 685. Without an accurately calculated ROI, meaningful comparisons

across advertising channels is not possible, PFOF ¶¶ 510, 685, and therefore substitution based

upon ROI cannot justify placement of different products within the same antitrust market.

       Second, even those advertisers attempting to calculate ROI set different ROI goals for

different advertising channels, or otherwise recognize the different roles these channels play.

PFOF ¶¶ 503–507. Thus, altering spend across ad channels does not mean ad channels are

interchangeable; for example, the advertisers could be rebalancing ad spend as part of a full-

funnel advertising strategy. PFOF ¶¶ 502, 508. Indeed, Google’s own long-term advertising

experiments prove there is little advertiser substitution in response to increases in Text Ad

prices—increases that were profitable for Google. PFOF ¶ 496. Also, if an advertiser is not

selling a physical product, even shopping ads are not available and substitution between the two

dominant forms of Search Ads—Text Ads and shopping ads—cannot occur. PFOF ¶ 497.


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       F.      The Relevant Geographic Market Is The United States

       The relevant geographic market for general search services, Search Ads, and Text Ads is

the United States given that users turn to Google’s services throughout the country.

PFOF §§ IV.A.5, IV.B.7, IV.C.7; PCOL § II.B. Moreover, Prof. Mike Whinston explained,

search results and advertisements served to consumers in the United States are distinct from

those served in other countries. PFOF § IV.A.5. Google’s experts offered no challenge to this

geographic market.

II.    Google Possesses Monopoly Power In Each Of The Relevant Markets

       Google has long exercised monopoly power. Because direct evidence of monopoly power

is rarely available, the law requires only indirect evidence. PCOL § III. But for each relevant

market here there is both.

       A.      Indirect Evidence Of Google’s Monopoly Power In General Search Services

       Monopoly power may be inferred “from a firm’s possession of a dominant share of a

relevant market that is protected by entry barriers.” PCOL § III.A (citing Microsoft, 253 F.3d

at 51). Based on this measure, the trial record demonstrates Google’s monopoly power.

               1.      Google Dominates The General Search Services Market

       As of 2020, Google’s market share in general search services in the United States was

89%, greatly exceeding the 70% threshold “that courts ordinarily find sufficient to establish

monopoly power.” PFOF ¶ 522; PCOL § III.A.1 (citing FTC v. Facebook, Inc., 581 F. Supp. 3d

34, 47–48 (D.D.C. 2022)). The durability of Google’s market dominance further supports a

finding of Google’s monopoly power in general search services. PCOL § III.A.1. From 2009 to

2013, Google—in the ordinary course—tracked its market share compared to other GSEs and

determined that its share consistently exceeded 75%. PFOF ¶ 527. Since then, Google has

periodically calculated its market share, for both desktop and mobile, and has continued to find


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UPX0266 at -986). Also, Apple assumed a GSE would require $6 billion in annual operating

costs. PFOF ¶ 538. Indeed, Microsoft has invested nearly $100 billion in Bing over the past two

decades. PFOF ¶ 538. What is more, trial witnesses agreed that the complexity of building a GSE

—including crawling, indexing, and ranking—poses an incredible challenge, which elevates the

entry barriers for general search. PFOF ¶¶ 531–536.

       Fourth, the need for a license is often an entry barrier. PCOL § III.A.2. GSEs need

permission to crawl websites. Mikhail Parakhin, Microsoft’s CEO of Advertising and Web

Services, explained that webmasters limit which GSEs may crawl their websites. PFOF ¶ 533.

Because websites must pay for the bandwidth used by a GSE to crawl their pages, it is “fairly

standard practice” for websites to permit crawling by only the most popular search engines. Id.

Thus, nascent GSE rivals face an uphill battle accessing the websites necessary to build a

representative index.

       Fifth, brand recognition and reputation can limit rivals’ ability to expand. PCOL § III.A.2.

As the Court acknowledged in its summary judgment order, the Google brand has become a

verb. Summ. J. Opinion, ECF No. 624 at 1. Sridhar Ramaswamy, co-founder of Neeva who led

Google’s search infrastructure team, testified that Google’s reputation is so entrenched that when

users have a negative search experience with Google, users blame themselves, affording Google

a margin for error not enjoyed by new entrants. PFOF ¶ 543.

       Finally, the dearth of entry into general search services confirms the difficulty of entering

and challenging Google. In 2020, Bing’s market share was more than 5%, and Yahoo and

DuckDuckGo were even smaller, with market shares of approximately 2% each. PFOF ¶ 522.

For most of the past decade, Google’s two largest rivals—Bing and Yahoo—rarely exceeded

10% market share combined. PFOF ¶ 526. Despite raising a substantial amount of money,




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¶ 570 Although sharing revenue costs Google billions of dollars annually, the ISA is nevertheless

“profitable,” according to Mr. Pichai, because it generates “more billions and billions in

revenue.” PFOF ¶ 569 (citing Tr. 7781:23–24); see also PFOF ¶ 733 (calculating net revenue

losses in the event that Google lost the Safari default).

       Third, Google has experienced little to no market response to search quality reductions

and advertising price increases. In general search services, Google’s quality-degradation

experiments showed that users are not responsive to increases in Google’s latency, an important

barometer of quality. PFOF ¶ 572. And in advertising, Google employees conceded that Google

has the power to raise prices and CPCs; indeed, an internal Google study concluded that the

company would retain enough advertisers after a 15% increase in Text Ad prices to see profits

rise. PFOF ¶¶ 496, 632–633. Also, Jerry Dischler, Google’s former head of ads, testified that

Google has previously increased Search Ads prices by 5% resulting in an overall increase in

Google’s revenue even though the number of Search Ads sold likely decreased. PFOF ¶ 632.

And other Google employees testified that Google has profitably raised prices on advertising.

PFOF ¶¶ 711–712. In fact, Google’s Text Ad prices doubled from 2013 to 2021, and for the

better part of the past decade, Google has increased its year-over-year search advertising revenue

by 20% or more. PFOF ¶¶ 635, 711–712.

       When facing financial targets, Google has manipulated its auctions to extract additional

revenue from advertisers. PFOF §§ V.C.4, V.C.5.g. Advertisers accept the price increases

because, as they testified, they have no alternative for replacing the volume and reach of

Google’s Search and Text Ads. PFOF ¶¶ 586–588. Google’s power to raise prices is so

entrenched, Google does not consider its rivals’ prices when deciding whether to raise Search Ad

or Text Ad prices. PFOF § V.C.6.




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       Thus, although unnecessary as a matter of law and given the substantial indirect

evidence, direct evidence amply demonstrates that Google has monopoly power in all relevant

markets.

III.   Google’s Exclusionary Conduct Has Harmed Competition In Each Relevant Market

       Under Microsoft, the evidence establishes a prima facie case that Google’s conduct has

an “anticompetitive effect,” meaning that it “harm[s] the competitive process.” 253 F.3d at 58.

Google’s conduct has harmed the competitive process by (1) depriving rivals of the scale

necessary to compete; (2) preventing Apple and Branch from growing their nascent technology

or entering the relevant markets; and (3) foreclosing rivals through Google’s use of exclusive

contracts. Individually and collectively, this conduct has allowed Google to maintain its

monopoly power in violation of Section 2 of the Sherman Act.

       A.      Google’s Conduct Harms Competition By Depriving Rivals Of The Scale
               Necessary To Compete

       Google pays billions of dollars to guarantee it is the exclusive out-of-the-box default

search engine across nearly all search access points—particularly on mobile phones. Google

therefore denies rivals access to the most important distribution channels for general search

engines. See infra § III.C. Without access to those distribution channels, rivals cannot achieve the

scale necessary to compete effectively with Google.

               1.      Scale Plays A Vital Role For General Search Engines

       Search engines depend on user-side data to improve may aspects of search quality,

including crawling, indexing, ranking, and ads quality and monetization. See PFOF ¶¶ 163–202.

                       a)     General Search Quality Is Based On Scale

       A large amount of user-side data collected by GSEs, i.e., scale, is vital for search quality

and necessary to compete in the relevant markets. As one internal Google document explained:



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“most of the knowledge that powers Google, that makes it magical, originates in the minds of

users. Users are the founts of knowledge—not us.” PFOF ¶ 166 (citing UPX0228 at -501).

Accordingly, Google, collects vast amounts of user-side data and retains that data indefinitely.

PFOF ¶ 162. Important uses of scale include (1) ranking, (2) responding to tail queries, and

(3) answering location-based queries.

       First, scale helps search engines narrow and order the results shown to a user when they

enter a search query. PFOF ¶¶ 177–188. Eric Lehman, a former Google engineer, explained the

importance of scale in ranking: “when thinking about [] the value of the search results for a

query, relevance is the most important consideration[,]” and “[h]aving user data is useful to

Google in identifying relevant results for a search query.” PFOF ¶ 178 (citing Tr. 1777:15–

1778:4). Thus, for example, Navboost—“one of the most powerful ranking components” at

Google—memorizes all clicks for all queries received in the prior 13 months. PFOF ¶¶ 183–184

(citing UPX0190 at -740) (emphasis added). It would take Bing over 17 years to generate a

similar amount of data. PFOF ¶ 988. Google then uses a system called Glue to help rank whole

page results. PFOF ¶¶ 194–195. Glue also relies on enormous amounts of user data. PFOF ¶ 195.

       Second, scale is critical for answering tail queries. PFOF ¶¶ 995–996. Dr. Lehman

testified that although “extremely rare individually, [] collectively, [tail queries] make up a

significant part of the query stream.” PFOF ¶ 981 (citing Tr. 1811:4–25). As a result, many users

judge a search engine based on its ability to answer tail queries. PFOF ¶ 997.

       Third, scale is also critical for answering location-based queries, particularly for mobile

users. PFOF ¶ 1004. Data gleaned from desktop queries is often not useful in answering mobile

queries, particularly queries that depend on a user’s fine-grained location—e.g., “restaurants near

me.” PFOF ¶ 1004. Also, mobile data from one city may have no value at all in answering




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mobile queries from another city. Thus, a large amount of data, including mobile data from a

wide variety of locations, is necessary for a general search engine to provide quality responses.

PFOF ¶¶ 1000–1001, 1004.

                       b)      Scale Is Important For Ad Quality And Monetization

       Scale is also important for ad quality and relevance. See PFOF § VIII.A.4, ¶¶ 1030,

1034–1051, 1054–1056. Sundeep Jain, former Google VP, testified that increasing data related to

commercial activity leads to better search ads. PFOF ¶ 1057. Scale enables GSEs like Google to

better identify queries with commercial intent and match relevant ads to those queries, increasing

revenues and profitability. PFOF ¶¶ 1030–1041, 1046–1053; PFOF ¶ 562 (Microsoft’s

syndication partnership with Yahoo improved Bing’s monetization). Finally, scale gives Google

more data to conduct simulations and live experiments to refine its advertising algorithms.

PFOF ¶¶ 145, 202, 1055–1056. For example, Google “has such a high volume of users, [it] can

get to statistical significance very quickly” when conducting ad experiments (also known as

launches). PFOF ¶ 1055 (citing Des. Tr. 92:3–93:10 (Jain (Google))). Rival GSEs, on the other

hand, need more time to run experiments and are constrained in the number they can run

simultaneously, slowing improvements and—importantly—limiting their cumulative effect.

PFOF ¶¶ 1054, 1057.

               2.      Google’s Distribution Contracts Deprive Rivals Of Critical Scale

       By locking up default exclusivity for more than a decade, Google has deprived rivals

(and potential entrants) of the user-side data necessary to compete effectively. As a result, rivals

lose out for reasons having nothing to do with competition on the merits. See PCOL § IV.C.2.

       Google’s defaults provide the company with searches it would not otherwise receive.

Google’s expert Prof. Kevin Murphy agreed that defaults generate additional search volumes.

PFOF ¶ 876. That is why Google pays so much for defaults. Exclusivity, moreover, ensures that


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Google receives searches that it would not have received in a more competitive world where

rivals are present on devices or users were presented with alternative choices.6 PFOF § VI.D.4.

        At the same time, Google’s distribution agreements deprived rivals of queries that would

have increased their quality and put competitive pressure on Google to invest more in its own

quality. See infra §§ III.C.2–3. The effect of this persistent deprivation of scale is powerful and

cumulative, exacerbating barriers to competition and ensuring that rivals never pose a

competitive threat to Google’s monopoly. See PCOL §§ III.A.2, IV (citing United States v.

Dentsply Int’l, Inc., 399 F.3d 181, 191 (3d Cir. 2005) (anticompetitive conduct “helps keep sales

of competing teeth below the critical level necessary for any rival to pose a real threat to

Dentsply’s market share”). Mr. Parakhin of Microsoft put it bluntly: “[i]n search, distribution is

extremely important. . . . If you don’t have ability to effectively distribute, it’s almost

meaningless to invest in the area.” PFOF ¶ 1072 (citing Tr. 2643:9–23).

        Because it cannot argue that scale is unimportant, Google instead insists that there are

diminishing returns from scale. But it is axiomatic that diminishing returns means that smaller

rivals would derive greater benefits from additional scale than Google. PFOF ¶ 164. That makes

Google’s conduct worse, not better. Moreover, the user-side data Google collects continues to




6
    Google not only receives more search queries than its rivals, it also sees a larger number of
    unique searches. PFOF ¶ 980. For example, Prof. Whinston analyzed the unique search
    phrases seen on either Google or Bing during one week in February 2020, and determined
    what fraction of phrases were received only on Google, only on Bing, or on both search
    engines. For all devices, 93% of unique search phrases were seen only by Google, 4.8% were
    seen only by Bing, and 2.2% were seen by both. For mobile queries, 98.4% were seen only by
    Google, 1% were seen only by Bing, and 0.7% were seen by both. PFOF ¶ 980.



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accrue positive value, even if smaller in size and importance, after the point of diminishing

returns. PFOF ¶ 164.

       Thus, Google’s distribution agreements have harmed competition in the relevant markets.

       B.      Google’s Conduct Has Harmed Competition By Incentivizing Apple To Not
               Enter The Relevant Markets And Preventing Apple And Branch From
               Growing Nascent Technologies

       Google’s contracts harm competition by discouraging—or stopping outright—Apple and

Branch from entering the relevant markets.

       First, Google’s payments to Apple incentivize Apple to not enter the relevant markets.

Apple has the resources and “                                                       ” to build its

own GSE. PFOF ¶ 1095. Apple even hired Mr. Giannandrea, Google’s head of search, to

strengthen Apple’s search and knowledge capabilities. PFOF ¶¶ 1093, 1097. Without Google’s

ISA payments, Apple would have the ability and motivation to “disrupt Google search.”

PFOF ¶ 1096. Indeed, Eduardo Cue, Apple’s lead negotiator, testified that, if Apple did not

receive the massive payments it sought from Google, Apple would have developed its own

search engine. PFOF ¶ 1101. Internally, Google has recognized “Apple’s ability and likely plan

to build web answers and a general search engine.” PFOF ¶ 1093. Instead, Apple accepts billions

each year in revenue-share payments from Google in exchange for Apple’s agreement to route

search traffic to Google. PFOF ¶¶ 1098–1101. The end result is less competition and less choice.

       Second, the ISA restricts Apple’s ability to grow its Suggestions product. Since 2013,

Apple has offered Suggestions in Safari—an innovative feature that diverts search traffic away

from Google and results in “a much better user experience.” PFOF ¶¶ 1103–1106. Although

Suggestions is not a general search engine, it “bleeds” queries away from Google, PFOF ¶ 1109,

and one day could become a reasonable substitute for a general search engine. Google

recognized that threat and responded by adding a term in the 2016 ISA requiring Safari to


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continue to use Google in a way that was “substantially similar” to its use in 2016, thus thwarting

the expansion of Suggestions. PFOF ¶¶ 1106–1112.

         Third, Apple operates Spotlight, a “universal search” feature that is primarily suited for

“on device” search but can also run web searches through Safari. PFOF ¶ 1113–1114. If Apple

were to show ads in Spotlight, Apple’s position in Search Ads would grow significantly.7

However, the ISA prohibits Apple from displaying Search Ads in Spotlight without giving

Google the right-of-first-refusal to show the ads under the same revenue-sharing terms as for

Safari queries. PFOF ¶¶ 1116–1119. In other words, the ISA requires Apple to obtain Google’s

permission before using Spotlight to expand Apple’s Search Ads efforts. This is significant:

under the ISA, Apple receives only 40% of the revenue from Search Ads, and the prospect of

receiving this has not been enough for Apple to offer Search Ads in Spotlight. However, if Apple

could receive 100% of the revenue (by building its own Search Ads ability) then Apple’s

position might have changed, and competition would have benefited.

         Fourth, Google’s distribution contracts thwarted the adoption of Branch’s innovative

search product for navigating and discovering app content. PFOF § VI.B.5. Google’s RSAs

include prohibitions on distributors’ ability to preinstall “alternative search services” on their

devices. Although distributors generally understand those provisions to prohibit preinstallation of

services that directly compete against Google Search, like Microsoft’s Bing, the provisions are

drafted broadly enough that they can encompass services like Branch’s app-search product, even

though it is not a GSE. PFOF ¶ 1121.

         Out of a concern that Google would designate Branch’s app-search product an alternative

search service and refuse to pay a revenue share on devices which have Branch preloaded, OEMs


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    Today, the only Search Ads sold by Apple are in its app store. PFOF ¶ 1115.


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and U.S. carriers have declined to preinstall Branch without substantially limiting its

functionality. PFOF ¶¶ 835, 838, 841–849. This ensures Branch does not pose, and can never

pose, a threat to Google’s search monopoly. PFOF ¶¶ 835, 838, 841–849. Moreover, on at least

two occasions, Google intervened to dissuade partners that were considering expanded

partnerships with Branch. PFOF ¶¶ 852–855, 857–858, 860–862. As AT&T’s Jeffrey Ezell

explained, after hearing from Google, it became clear that the economic benefits of working with

Branch were not great enough to justify the risk to AT&T’s revenue-share payments from

Google. PFOF ¶ 860. Google’s contracts thereby foreclosed distribution of a product that could

have diverted users from general search services and eroded Google’s monopoly in that market.

       Accordingly, Google’s conduct has reduced Apple’s incentive to compete against Google

directly and also limited competition from nascent services by Apple and Branch.

       C.      Google’s Conduct Has Harmed Competition By Foreclosing A Substantial
               Share Of Each Relevant Market

       Google invites the Court to evaluate Google’s conduct only through the lens of exclusive

dealing. The Court should reject this invitation because exclusive dealing is simply one form of

exclusionary conduct. See PCOL §§ IV.B, IV.C.1 n.4. Thus, although the Court need not view

the conduct through this lens, it provides an additional and independent basis for a prima facie

case under Section 2: Google has executed exclusive contracts with Apple, Android OEMs and

carriers, and third-party browsers that foreclose a substantial share of the general search services

market and related advertising markets. PCOL §§ IV.C–D; see also PFOF § VII.

               1.      Google’s Contracts Are Exclusive

       Under Section 2, the test for exclusivity is flexible, not literal—both de facto exclusivity

and partial exclusivity satisfy the requirement. PCOL § IV.C.1. An agreement is de facto

exclusive when it contains no expressly exclusive terms but has a similar practical effect.



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PCOL § IV.C.1. And an agreement is partially exclusive when it requires the partner to use the

defendant for a portion of its needs while allowing the partner to use competitors for the rest.

PCOL § IV.C.1. Whether literally, de facto, or partially, Google’s contracts are exclusive.

                       a)      Google’s Apple Contract Provides Default Exclusivity

       The ISA, Google’s contract with Apple, ensures Google is the exclusive out-of-the-box

default search engine on iOS and macOS devices. It requires Apple to pre-set Google—and only

Google—as the default search engine for “Search Queries” performed through Safari, Apple’s

only browser and the only browser pre-installed on Apple devices. PFOF ¶¶ 7, 223–224, 729.

Safari is the most prominent and commonly used search access point on Apple devices,

accounting for approximately 80% of iPhone queries. PFOF ¶ 730. In 2020, Google determined

that more than 80% of its daily iOS users accessed Google through Safari. PFOF ¶ 730.

Similarly, Mr. Nadella explained that although mobile devices have “multiple search access

points, the one access point that matters is the search default on the browser.” PFOF ¶ 922

(citing Tr. 3499:21–3500:8).

       Technically, the ISA does not restrict Apple’s ability to preinstall third-party browsers

with different default search engines. But that opportunity is merely theoretical. Safari is the only

browser pre-installed on Apple devices, and Apple refuses to pre-install any third-party

applications, including browsers and search widgets. PFOF ¶¶ 7, 729. Nor will this approach

change: Mr. Cue testified that he did not “see any scenario in which [Apple] would” preload

third-party applications on Apple devices. PFOF ¶ 729 (citing Tr. 2456:6–10).

       Moreover, under the ISA, Apple cannot (1) offer a search engine choice screen,

PFOF § VI.A.2.a, ¶¶ 223, 740; (2) pre-select a different default search engine in Safari’s private

browsing mode, PFOF § VI.A.2.e, ¶ 223; (3) offer a different default search engine on different

Apple devices (e.g., different defaults on mobile versus desktop devices), PFOF ¶ 223; (4) offer


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a different default search engine in the United States (or part of the United States) versus the rest

of the world, PFOF ¶¶ 223–224; (5) materially expand Apple’s Suggestions feature in Safari,

PFOF ¶¶ 227, 1103–1111; or (6) run ads on Siri or Spotlight without giving Google the right-of-

first-refusal to control those ads, PFOF ¶ 230.

       Google has repeatedly insisted on exclusive default status, even when Apple sought

greater flexibility. PFOF § VI.A.2. For example, in 2007, when Apple rolled out a version of

Safari for the Windows operating system, Apple wanted to offer a choice screen for users to

select their default search engine. PFOF ¶ 747. But Google’s Executive Management Group—

including Partner Advisor for Global Partnerships Joan Braddi, co-founder Sergey Brin, and

future CEO Sundar Pichai—rejected Apple’s request to make Google “one of the two possible

choices for search provider, not the default.” PFOF ¶ 749 (citing UPX0126 at -240). Google’s

response was swift and unequivocal: “No default placement – no revenue share on

Safari/Windows.” Id. (citing UPX0072 at -216).

       Two years later, in 2009, Apple sought the “option but not the obligation” to pre-set

Google as the default search engine in Safari. PFOF ¶ 758 (citing UPX0605 at -269;

Tr. 4995:23–4996:2). Apple’s request would have afforded the company flexibility to pre-set

Google as the default search engine only in some locations, only on some devices, or only in

some versions of Safari. PFOF ¶ 759. Under this approach, Apple may have succeeded years

later in setting DuckDuckGo’s privacy-oriented search engine as the default in Safari’s private

browsing mode—an option some Apple executives pursued. PFOF § VI.A.2.e. Instead, in 2009,

Google rejected Apple’s request, and it did not appear in the ISA’s amendment. PFOF ¶¶ 760.

Google rebuffed a similar proposal in 2012 when Apple sought an ISA providing “[n]o




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obligation to use Google search services or to make Google the default.” PFOF ¶ 761 (citing

UPX0570 at -724).

       Trying a different tack, in 2013 Apple began offering Suggestions in Safari—a feature

that saved people time and a trip to Google by guessing their search intent and then funneling

them directly to a responsive website. PFOF ¶¶ 10, 81, 1103–1105. Mr. Giannandrea explained

that “every query that we provide an answer to is a query that doesn’t go to Google.”

PFOF ¶ 1102 (citing Tr. 2220:13–19). Because Apple’s Suggestions diverted traffic from

Google, Google’s executives reacted to quell a feared 10% revenue loss. PFOF ¶¶ 1106–1107.

Google built into the ISA “a structure that prevents [Apple] from diverting queries and

destroying value.” PFOF ¶¶ 1107–1108.

       In the 2016 ISA, Google froze Suggestions by including a term that required Safari to use

Google in a way that was “substantially similar” to its use in 2016. PFOF ¶¶ 1108–1111. This

term intentionally limited Suggestions’ growth and functionality. PFOF ¶ 1109. A 2018 email

from Ms. Braddi to a colleague revealed Google’s rationale for this clause: Google saw Apple

“increasingly offer[ing] the user other suggested redirections. This concerned us which is why

we added into the [ISA] that they could not expand farther than what they were doing in

Sept 2016 (as we did not wish for them to bleed off traffic).” Id. (citing UPX0309 at -823).

       Through the ISA—which currently runs from 2021 to 2026 with options through 2031,

PFOF ¶¶ 219–220—Google successfully locked down the default on all versions of Safari, on all

devices, and in nearly all geographies. Regardless of whether Apple releases a new setting for

private browsing, PFOF ¶ 778, or even a totally new device, like its Vision Pro headset, Google

is in control. PFOF ¶¶ 223–224, 739.




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                       b)      Google’s Contracts With Android OEMs And Carriers
                               Provide Default Exclusivity

        For years, Google has executed contracts both with OEMs, such as Samsung and

Motorola, and with U.S. carriers, such as AT&T, Verizon, T-Mobile, and Sprint, to ensure that

Google maintains exclusive default status (i.e., out-of-the-box default on all search access points)

for Android devices. PFOF §§ III.F.2, VI.B. Google’s ordinary-course documents confirm that it

seeks to make the contracts “exclusive across all Android devices[],” so that Android phones

“come with Google as the only search engine out-of-the-box.” PFOF ¶ 813 (citing UPX0134 at

-869). Google accomplishes this goal through interrelated contracts: the MADAs and the RSAs.

                               (1)    The MADA Is Effectively Compulsory

        Exclusivity begins with the MADA, which requires OEMs that preinstall any Google app

to (1) put Google’s search widget on the Android device’s homescreen;8 (2) preinstall 11 Google

apps, including (in a folder on the home screen) Google Chrome “set to Google” and the Google

Search App; and (3) make six of those apps undeletable. PFOF ¶¶ 245–248. Since 2020, certain

MADAs, including the Motorola and Samsung MADAs, have restricted partners from even

instructing or encouraging users to change the default, thus making such changes more difficult

and less likely. PFOF ¶ 249.

        The MADA is not just exclusive; it is effectively compulsory. The MADA is the only

means for an OEM to obtain the Play Store. PFOF ¶ 779. And OEMs simply cannot sell phones

without the Play Store because it is the only meaningful avenue Android users have for obtaining

apps. See, e.g., PFOF ¶ 240 (citing UPX0312 at -154) (“OEMs want the Play store on their

phone, and in return we are able to get other apps like Google search . . . on the phone as a


8
    The MADA technically permits OEMs to preinstall a rival search widget alongside Google’s;
    however, the evidence demonstrated that OEMs do not want to preinstall two search widgets
    and have never done so. PFOF ¶¶ 789–791.


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result.”); PFOF ¶¶ 238, 241–244.9 Even Microsoft—against its self-interest in promoting Bing—

was forced to put the Google Search widget and other Google apps on the homepage of its Duo

Android devices. PFOF ¶¶ 240, 789–790 (discussing Duo devices). As Mr. Nadella emphasized,

without the Play Store, an Android phone is a “brick.” PFOF ¶ 240 (citing Tr. 3517:6–25).

Unsurprisingly, every Android smartphone sold in the United States comes with the Play Store

and is therefore subject to a MADA. PFOF ¶ 779.

                               (2)     Then The RSA Locks Up Exclusivity

        Google uses a “belt and suspenders” approach by entering into RSAs with carriers as well

as the OEMs that have signed MADAs. PFOF ¶¶ 818, 820. In exchange for payment, the RSAs

require carriers and OEMs to preinstall search-related Google apps with prominent placement

and preclude preinstallation of “alternative search services” on their Android devices.

PFOF ¶¶ 260–262. In a document prepared for Google’s Chief Business Officer, Phillipp

Schindler, Google explained that the RSAs ensure “[d]evice exclusivity,” “[d]efault [placement]

on all access points,” and that “Chrome [is] in the hotseat and default.” PFOF ¶ 259 (citing

UPX0141 at -818). Hotseat is an industry term for the bottom row of apps on a mobile device

that a user can access quickly and that persist when swiping to the right or left; it is considered

some of the most valuable real estate on the device. PFOF ¶¶ 150, 277.

        In 2011, Chris Barton, a Google Strategic Partner Development manager, explained the

role of search defaults on Android devices:

               We need to incentivize carriers to ship Google by using the same
               approach we at Google have used for many years. “We will pay you
               revenue share in return for exclusive default placement”. This
               contract is an exchange.

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    Although other app stores are distributed on Android phones, none, including Samsung’s
    Galaxy Store, rival the Play Store in terms of the available apps. PFOF ¶ 240. Google does
    not view the Galaxy Store as a threat to the Play Store’s dominance. PFOF ¶ 242.


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                      c)      Google’s Contracts With Third-Party Browsers Provide It
                              With Default Exclusivity

       As with Apple and Android, Google has exclusive default contracts with third-party

browsers such as Mozilla and Opera (and even with little-known players such as Puffin and

Aloha). See PFOF § III.F.3. Under these contracts, Google must be set as the default search

engine when the consumer downloads and installs the browser. PFOF ¶¶ 310, 316–317. For

example, Google’s contract with Mozilla—which owns Firefox, the largest third-party

browser—requires Mozilla to preset Google as the default search engine for all search access

points. PFOF ¶ 310. A choice screen is not permitted. Id.

               2.     Defaults Are The Most Important And Efficient Method Of
                      Distributing General Search Services

       Today, new computers and mobile devices typically come out-of-the-box with default

settings chosen by the distributor. PFOF ¶¶ 146, 151, 868. The same is true when a user

downloads a new browser, as browsers typically have a search bar set to a default GSE.

PFOF ¶¶ 146, 151. These default settings are the most important and efficient means of

distributing a GSE, particularly on mobile devices. See, e.g., PFOF § VI.D.2; PFOF ¶ 922.

                      a)      The Enormous Number Of Default Searches Shows The Power
                              Of Defaults

       The defaults secured by the challenged agreements account for roughly 50% of all

general search queries in the United States. PFOF ¶ 954. Even a large portion of the remaining

general-search queries are attributable to defaults. Most notably, on user-downloaded versions of

Chrome (which are most popular on Windows and MacOS devices), the Google default accounts

for another 20% of all U.S. general search queries. PFOF ¶ 968.




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         Thus, roughly 70% of all U.S. general search queries are conducted on Google through

its position as the default search engine on one access point or another. These numbers

underscore the enormous importance that defaults hold in general search distribution.

                        b)     Trial Testimony Shows The Power Of Defaults

         Witnesses at trial—whether testifying on behalf of Google or third parties—repeatedly

confirmed the importance of defaults. For example, Mr. Nadella explained:

                The entire notion that users have choice and they go from one
                website to one website or one search into one search and it’s
                complete bogus. There’s defaults. The only thing that matter in
                terms of changing search behavior.

PFOF ¶ 882 (citing Tr. 3497:13–3498:19). Also, Mr. Pichai admitted that defaults are very

valuable to Google. PFOF ¶ 932 (citing Tr. 7684:18–20). Other key Google witnesses, such as

Jim Kolotouros, Google VP of Android Platform Partnerships, and Ms. Braddi, confirmed this.

PFOF ¶ 932.

         Dr. Ramaswamy11 testified that “being the default on the browser is the most efficient

way to get into the hands of your users” because of the “convenience of easy accessibility” and

“tapping into . . . engrained default behaviors are deciding factors when it comes to whether a

search engine gets lots of usage.” PFOF ¶ 877 (citing Tr. 3689:15–24). He further explained that

“whoever controls that search box gets a lot of usage independent of the merits of the search

engine. And so you get enormous usage simply by the power of the default.” PFOF ¶ 882 (citing

Tr. 3710:7–3712:20).




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     Dr. Ramaswamy was uniquely positioned to testify on the power of defaults given that he has
     seen their impact as an engineer and executive at Google and then as the CEO of Neeva, a
     search start-up launched in 2017. PFOF ¶ 39.


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       The power of defaults is particularly pronounced on mobile because defaults are stickier

on mobile devices, PFOF ¶¶ 919–922, and more queries pass through these devices, PFOF

¶ 923. For example, one Microsoft executive observed that “[o]n a mobile platform more than

anywhere else, even more than on the PC, default is the only thing that matters.” PFOF ¶ 928

(citing Des. Tr. 143:7–23 (van der Kooi (Microsoft)). Google has estimated that losing the

mobile Safari default could be more than twice as costly as losing the Safari desktop default.

PFOF ¶¶ 917–919. Similarly, Microsoft assumed that it could capture significantly greater query

share on mobile iPhones (    %) than desktop Macs ( %) because of “higher churn” on

desktops. PFOF ¶ 928.

                       c)      Ordinary-Course Documents And Historical Events Show The
                               Power Of Defaults

       Google has long recognized the power of defaults. In 2005, Microsoft announced a plan

to set a search default in Internet Explorer to Microsoft’s own search engine. In a letter from its

general counsel, Google accused Microsoft of “put[ting] its own interests above those of end

users.” PFOF ¶ 872 (citing UPX0172 at -731). Google emphasized that Microsoft “know[s] most

end users do not change defaults” and further accused Microsoft of trying to “gain a large

number of search users for reasons having nothing to do with the merits of Microsoft’s search

offering.” PFOF ¶¶ 350, 872 (citing UPX0172 at -731). Discussing the letter at trial, Mr. Pichai

testified that because users do not change defaults, Google was “deeply concerned” that

Microsoft’s actions could harm the competitive process. PFOF ¶ 872 (citing Tr. 7683:5–8).

Two years later, an important Google study confirmed the power of defaults for search

distribution. When considering the factors that might influence a user’s choice of search

engines—such as results quality, search features, user experience, and brand strength—“one




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factor surprisingly trumps them all: the default home page setting.” PFOF ¶ 878 (citing

UPX0093 at -904).

       Over time, Google—and Microsoft—continued to recognize the power of defaults. For

example, in 2016, Google and Microsoft each negotiated potential multi-billion-dollar deals with

Apple for control of the Safari default. PFOF ¶¶ 914, 1063–1064, 1264–1272; see also

PFOF ¶¶ 927–929, 1065–1066, 1273–1278 (Apple and Microsoft discussions in 2018).

To inform these negotiations, all three tech corporations estimated the likely effect of Safari’s

default switching from Google to Bing. All three companies predicted similar, enormous effects.

PFOF § VI.D.5. Microsoft was willing to invest billions of dollars in reliance on the power of

defaults. PFOF ¶ 943. And Google projected that it might lose over $7 billion in 2020 alone if

Apple switched defaults. PFOF ¶ 941. Thus, Google viewed the risk of Apple switching the

Safari default as a “Code Red” scenario. PFOF ¶¶ 732, 915 (citing Tr. 1616:20–1618:15).

       These estimates were based in part on a 2012 event where Apple replaced iPhones’

default maps from Google Maps to Apple Maps. PFOF ¶¶ 906, 916, 918, 925, 929. That switch

generated an immediate, sizeable, and lasting increase in Apple Maps’ usage even though it was

admittedly inferior to Google Maps. PFOF ¶¶ 906–907. Mr. Nadella testified that the Apple

Maps switch demonstrated “the power of defaults” and instilled confidence at Microsoft that

winning the Apple search default would be a “big game-changer” in search competition.

PFOF ¶ 907 (citing Tr. 3500:9–3502:2).

       Google projected large losses from changes to the default on Android devices, too. For

example, Google estimated it would lose from       % to    % of its Android search revenue if

Samsung switched the default search engine for its S Browser. PFOF ¶ 926 (citing UPX0323 at

-540, UPX0146 at -412).




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         Google also recognizes the importance of app preinstallation, noting it is the “highest

value way to acquire users.” PFOF ¶ 881 (citing UPX0122 at -960). “Without MADA,” one

Google document explained, “we would not be able to incentivize placement of the Widget,

which drives ~50% of search revenue on a device and secures other 1P apps like Chrome and

Assistant.” PFOF ¶ 796 (citing UPX0316 at -906). Similarly, Anna Kartasheva, Director of

Production Operations and Strategy at Google, noted that the MADAs and RSAs work together

to “protect[] the [Google] widget on the device” and ensure that “Chrome is in the hotseat/set as

default browser”—leaving “in the pretty generous case, only about 10% of the search revenue of

[an Android] device to any rival who wants to buy [Google] out.”12 PFOF ¶¶ 814–815 (citing

UPX0150 at -900).

         Finally, two changes to the default search engine on the Firefox browser confirms the

importance of those defaults. PFOF ¶ 908. In 2014, Mozilla changed Firefox’s default search

engine from Google to Yahoo, but switched back in 2017. Id. Firefox usage occurs almost

exclusively on desktop, and Firefox’s users are more technologically savvy on average; both

factors, all else equal, should reduce the effectiveness of defaults. PFOF ¶ 909. Nonetheless, both

switches resulted in “sharp and immediate” changes in search market shares. PFOF ¶ 908. Mike

Roszak, Google VP of Finance, confirmed that Mozilla’s default switch cost Google $500

million in 2015, along with a 30% drop in default search engine traffic. Id.




12
     At trial, Ms. Kartasheva sought to walk back her 2020 analysis. However, she acknowledged
     that similar figures appeared in other contemporaneous Google documents and admitted that
     she believed her analysis to be accurate when she sent it to her boss. PFOF ¶ 817 (citing
     UPX0131; Tr. 2865:15–23, 2874:14–17, 2875:5–2876:17).


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default generates “additional search volumes.” PFOF ¶ 876 (citing Tr. 9941:9–11). As Prof.

Whinston explained, a rational actor would not pay Apple, for example, a 40% revenue share if it

were not getting additional traffic worth at least that much in return. See PFOF ¶ 939; see also

PFOF ¶ 940. Google’s payments demonstrate the power of defaults.

                       e)     Behavioral Economics Explains The Power Of Defaults

       Behavioral economics reveals why being the preset default is such an important

distribution channel for general search engines. PFOF § VI.D.3; see also PFOF ¶¶ 870–871,

878–879, 887, 898–901 (discussing Google’s use of defaults in its business). As Prof. Antonio

Rangel testified, defaults influence consumer behavior across a wide range of domains, from

coffee-shop tipping to 401(k) retirement savings to organ donation. PFOF ¶ 869. Even defaults

that are easy to change can still strongly influence choices. PFOF ¶¶ 871, 875. Google knows

this well, as Prof. Rangel showed in his testimony: Google deploys defaults in its own business,

including by introducing a simple yet “powerful” default that nudged advertisers to substantially

increase their daily budgets. PFOF ¶ 871.

       Prof. Rangel also described that “habit”—making decisions automatically based on prior

outcomes rather than an explicit choice—explains why defaults affect consumer behavior.

PFOF ¶¶ 885, 890. And Google’s own in-house Behavioral Economics Team has stressed that

“[s]eemingly small friction points in user experiences can have a dramatically disproportionate

effect” on consumers’ decisions. PFOF ¶ 892 (citing UPX0103 at -214). Google’s distribution

contracts are valuable because they reduce the friction for users to access Google Search.

PFOF ¶ 897. At the same time, switching defaults is a high-friction exercise, PFOF ¶¶ 893–897,

and Google has used its Android contracts to increase the friction for users to switch to a rival

search engine. PFOF ¶¶ 899–901.




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       In sum, the testimony and documents presented at trial established that defaults are

uniquely powerful and the most efficient form of search distribution.

               3.     Google Contracts Have Foreclosed A Substantial Portion Of The
                      General Search And Search Advertising Markets

       Google’s default distribution contracts substantially foreclose competition in each

relevant market.

       Foreclosure is the share of each market covered (or tied up) by the defendant’s exclusive

contracts. PCOL §§ IV.C.2, IV.D. In this case, Google’s agreements cover and thus foreclose

50% of U.S. general search queries—with 28% attributable to the Apple ISA, 19.4% attributable

to the Android MADAs and RSAs, and 2.3% attributable to third-party browser distribution

agreements. PFOF ¶¶ 954, 728, 804, 864; see also PCOL § IV.D.3 (under Microsoft, foreclosure

is measured by analyzing the foreclosure in the aggregate). Any rival hoping to win these queries

from Google would need to overcome not only Google’s quality advantage but also the

substantial power of defaults. Similarly, Google’s agreements cover and thus foreclose 45% of

U.S. Text Ad revenues and 36% of U.S. search ads revenues. PFOF ¶¶ 965–966. Each of these

foreclosure numbers is substantial on its own—and even more so when considered together and

along with the additional 20% of the market covered by the Google default in user-downloaded

Chrome. PFOF §VII.C, ¶ 968; PCOL §§ IV.C.2, IV.D.2.

       Indeed, although these shares are sufficient to establish the substantiality of foreclosure,

see PCOL § IV.C.2, additional evidence bolsters that conclusion:

       First, direct evidence demonstrates that the foreclosure created by Google’s agreements

has harmed the competitive process, and ultimately users and advertisers. See supra § III.B–C.

This evidence demonstrating the limits on Apple, the exclusion of a nascent competitor Branch,

and other conduct confirms the substantiality of the contracts’ foreclosure.



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        Other direct evidence demonstrates the substantial effect of Google’s agreements. Google

itself estimated that   % of searches originating from the Safari mobile default would go to Bing

if Microsoft secured that default. See PFOF ¶¶ 918.

        As Prof. Whinston explained, these ordinary-course estimates and his own econometric

analyses of historical events show that, regardless of any conceivable improvement in rivals’

qualities relative to Google’s, Google would retain at least 33% of U.S. general search service

queries, 30% of U.S. Text Ad revenues, and 24% of U.S. Search Ad revenues, solely because of

the defaults secured by the challenged contracts. PFOF ¶¶ 956–961, 967. Even Prof. Murphy

testified that some people simply will not change their search defaults. PFOF ¶ 964. This shows

that even if one of Google’s rivals becomes substantially more attractive to consumers than

Google, the defaults Google pays for ensure that Google retains substantial market share and

enormous scale. PFOF ¶¶ 955–961.

        Google wrongly urges the Court to measure foreclosure as Google’s market share today

minus the share it would have held in some but-for world where Google never engaged in the

conduct challenged here. Setting aside legal deficiencies, see PCOL §§ IV.D.1.a–b, Google’s

methodology is neither practicable nor sensible, which is why its own expert rejected it at trial.

PCOL § IV.D.1.c. It is impracticable—indeed, plainly impossible—to calculate foreclosure

based on market shares in the but-for world, which would require answering more than a

decade’s worth of unknowable questions about how Google would have chosen to compete and

how distributors, rivals, potential entrants, users, and (if any litigation ensued) courts would have

responded. Microsoft, 253 F.3d at 79 (“To require that § 2 liability turn on a plaintiff’s ability or

inability to reconstruct the hypothetical marketplace absent a defendant’s anticompetitive

conduct would only encourage monopolists to take more and earlier anticompetitive action.”).




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       Nor is Google’s approach sensible. The record evidence shows that Google responds to

competitive pressure once rivals have an opportunity to compete, not once rivals win. For

example, around 2020, European antitrust authorities required Google to implement a search

choice screen on European Android devices. PFOF ¶ 1088. Google recognized this choice screen

presented a threat to its business. PFOF ¶¶ 1088, 1089. To mitigate that risk, Google

implemented a search quality-improvement initiative called Go Big In Europe that included new

investments in features and employees. PFOF ¶¶ 1089, 1090. When the choice screen appeared,

Google’s Go Big efforts limited the company’s market share losses. Id. Thus, rivals’ mere

opportunity to gain users forced Google to compete by increasing the quality of its product. This

demonstrates that measuring foreclosure only by market share movements in a but-for world

would miss out on ways consumers could benefit from competition.

IV.    Google’s Maintenance of Its Monopolies Harms Users

       Google controls the onramp to the internet, allowing it to dictate what information is

available to users, the privacy (or lack thereof) that those users enjoy, and the amount that

companies, starting with Google, invest in improving search.

       A.      Google’s Conduct Has Reduced Its Incentive To Innovate, Invest, And
               Improve

       By insulating itself from competition, Google faces less pressure to improve search

quality and innovate more generally. PFOF ¶¶ 1079, 1083. Instead, Google settles for “good

enough” at the expense of users who would benefit from more choice and innovation in a

competitive market.

       Overall, Google’s R&D investments are small compared to other firms. PFOF ¶ 1082.

Tellingly, Google spends more securing exclusive defaults than on all other search-related




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expenses combined—including spending             times more on traffic acquisition costs

($26 billion in 2021) than on R&D ($      billion in 2021). PFOF ¶ 867.

       When Google invests less in search quality, it means that users receive slower and less

accurate results than they would in a competitive market. For example, from 2011 through 2020,

Google’s average latency—how long it takes to load search results—increased by some 500

milliseconds. PFOF ¶ 1084 (UPX0223 at -122). Google did not take corrective action until years

after its results had grown substantially slower than Bing’s. PFOF ¶ 354. In a similar vein,

Google has under-invested in crawling and indexing the Internet, the key technology for

providing comprehensive and accurate search results. PFOF ¶ 1083 (UPX0249 at -547 (“Since

2014, index size down 48% . . . crawl rate down 35%, and processing down 33%.”). Thus, even

people who prefer Google are harmed by Google’s conduct.

       Where Google has faced a competitive threat, it has responded by increasing quality. In

2009, when Microsoft Bing started gaining a foothold in the U.S. market and then formed its

partnership with Yahoo, Google responded with a “Code Orange” to improve search quality.

PFOF § VIII.C.1., ¶ 1132 (citing Tr. 5842:4–22 (Whinston (Pls. Expert)) (“[W]hen Bing was

introduced, Google sat up and took notice.”). Google not only acted but did so with urgency: in a

2010 email, a Search Sr. VP warned his team to “drop everything you are doing starting today”

and address the “serious competitive threat from Bing in ranking. We need to act fast and act

decisively.” PFOF ¶ 1132 (citing UPX0974 at -474). The drop-everything-you-are-doing Google

has been missing for years, at least in the United States. Ben Gomes, former Search Sr. VP,

testified that, when Europe required a choice screen for Android devices, Google launched its

“Go Big in Europe” plan to create and improve search features. PFOF ¶¶ 1087, 1089. Google’s

improvements in Europe included (a) best-in-class or exclusive experiences such as enhanced




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sports highlights, and (b) features showcasing local content. PFOF ¶ 1090. Those improvements

were not introduced in the United States.

       B.      Google’s Conduct Has Reduced Google’s Incentive To Protect Users’ Privacy

       Because Google is insulated from competition, Google has less incentive to protect user

privacy. PFOF § VIII.C.2. As a result, Google does far less to protect users than rivals such as

DuckDuckGo. PFOF ¶¶ 1144, 1148, 1150, 1151.

       Google collects detailed data from its users, including: (1) user queries; (2) the

corresponding data generated from users’ interactions with the results from those queries (e.g.,

queries, clicks, hovers, time spent on a result); and (3) information, such as a user’s location and

device type. See PFOF ¶¶ 159, 165, 195, 978.14 Google then uses this personal data to serve

advertisements—even when users are not using a general search engine.15 PFOF ¶ 1159. For

example, if a user searches for a plumber on google.com, Google continues to track the user

across the Internet and might later show the user ads for plumbers when they are checking Gmail

or watching YouTube videos with their family. Id.

       There is no way for a parent or any user to stop Google from logging queries forever or

using this data to market products to children. See PFOF ¶¶ 1154–1156. The privacy controls

Google does offer are cumbersome and difficult to navigate. PFOF ¶¶ 1158–1159. As Prof.

Rangel explained, changing Google’s privacy defaults involve “considerable choice friction”—




14
   The amount of data Google collects is vastly greater than its rivals. Google receives nine
   times more queries in a day than all its rivals combined; on mobile, Google receives 19 times
   more queries. PFOF ¶ 979.
15
   By contrast, Google rarely uses personalized search history to serve organic results.
   PFOF ¶ 1159.


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for example, it can take ten or more clicks for users to shorten the default 18-month search

history retention.16 PFOF ¶¶ 566, 1152, 1158.

         Because Google’s senior executives did not see a risk that Google would lose users to

privacy-focused rivals, they have resisted providing users better privacy protection or more

control over their personal information. PFOF ¶¶ 1143, 765, 35. For example, in 2021, Google

executives ignored privacy proposals from the company’s Chief Marketing Officer, including

(1) enhancing Incognito mode, (2) simplifying and strengthening Google’s privacy controls, and

(3) asking users for permission before using personal search histories on non-search properties.

PFOF ¶ 1150–1151. Indeed, Google’s flagship privacy product, Incognito mode for the Chrome

browser, is not available for Google Search, PFOF ¶ 1150, and Google does not offer a private

search mode on many prominent search access points, such as google.com and the Search

Widget on Android phones, Id.

         At trial, Dr. Raghavan admitted that privacy proposals could cost Google billions in

advertising revenues. PFOF ¶ 1149. He also admitted that without competition (and the possible

loss of users queries to rivals) to force its hand, Google ignores its users’ strong preference for

better, simpler privacy protection for their data. PFOF ¶¶ 1141–1147. Google’s own “research

show[s] that search engine users do care about privacy” and consider privacy when choosing a

search engine. PFOF ¶¶ 1138, 1141–1142 (citing Tr. 7451:20–7452:21). Other industry

participants agree. For example, DuckDuckGo’s user surveys show “a large percentage of

Americans would like to avoid [the] harms” of data tracking by general search engines such as




16
     The shortest auto-delete interval that Google offers users is three months—even though
     Google’s user surveys show that half of users would prefer Google to keep their search
     history for one month or less. PFOF ¶ 1153.


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Google. PFOF ¶ 1139 (citing Tr. 1943:3–1944:25). American consumers suffer these harms

every day, however, because of Google’s anticompetitive conduct.

        C.     Google’s Conduct Limits Investment In Search

        As both fact and expert witnesses explained at trial, a significant percent of queries is

default dependent—they are fixed to the default. See infra § III.C.2–3. By ensuring that these

default-dependent queries are not available for rivals, regardless of their quality, Google

systematically reduces the incentives for rivals to invest in search. PFOF ¶¶ 1072, 1093, 1099–

1100.

        A company will not make an investment if there is no hope of receiving a return.

See PFOF ¶ 1072–1077. Because Google’s contracts limit the possibility of sufficient return,

existing search participants will limit their improvements and potential entrants will walk away.

As Dr. Ramaswamy testified, if he, an experienced and well-funded entrant, could not get

distribution, what hope did any other innovator have? PFOF ¶¶ 540, 1124. Thus, Google’s

conduct “freeze[s]” general search to Google’s continued advantage. PFOF ¶ 1120.

        Google, moreover, has demanded exclusionary contract terms that further block entry.

For example, when Apple began bleeding off Google’s default queries with Suggestions in

Safari, Google revised the ISA to limit Apple’s growth in search. PFOF ¶¶ 1093, 1109. Given

Suggestions’ innovative features and possible ability to someday serve as a reasonable substitute

to a GSE, this restriction reduced consumer choice. See PFOF ¶¶ 1105–1107. On Android, by

adopting broad, ambiguous terms regarding what counterparties are allowed to do and placing

RSA payments at risk for missteps, Google ensures that partners will avoid deals with potential

entrants, such as Branch. Thus, on the mere possibility that such a partnership would put

Google’s payments at risk, AT&T and Samsung rejected the opportunity to work with Branch.

PFOF § VI.B.5. As Prof. Whinston explained, Branch’s technology could have eroded Google’s


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search monopoly by providing an alternative to web search. PFOF ¶ 1125. Google’s conduct

deprived consumers of not only a tool to better navigate and discover app content, but also the

benefit of additional competition. Id.

V.     Google’s Maintenance Of Its Monopolies Harms Advertisers

       Google’s exclusive default contracts give Google the ability to raise prices for Search and

Text Ads unconstrained by competition or fear of losing customers. This both shows Google’s

monopoly power, PFOF § V.C.5, ¶ 589, and demonstrates harm to advertisers. PFOF ¶ 1162.

       A.      Google Uses Its Market Power To Raise Prices To Advertisers

       Google can and does raise ad prices. PFOF ¶ 633 (citing Tr: 4110:1–12). Google engages

in what it calls “‘intentional’ pricing,” where it “directly affect[s] pricing through tunings of [its]

auction mechanisms, in general through the three levers that are format pricing, squashing, or

reserves.” PFOF ¶ 631 (referencing UPX0509 at -869 & Tr. 4102:18–25) (Google VP, Adam

Juda, admitted that Google can directly impact pricing by changing how the auction works).

Google has inserted “pricing mechanisms with pricing knobs” into its auction to “extract value

more directly” through price increases. PFOF ¶¶ 633, 648. Internally, Google employees

describe using launches to raise revenue in order to meet Wall Street expectations as “shaking

the cushions.” PFOF ¶ 706 (citing Tr. 1215:10–1216:23 (referencing UPX0522 at -193)).

       At trial, the Court heard testimony that Google raised CPCs by manipulating the ad

auction through three pricing knobs: (1) format pricing, which increased the additional cost paid

by advertisers using Text Ad extensions, PFOF §§ V.C.5.d.i, V.C.5.f.ii., (2) squashing, which

increased the runner up's Ad Ranks to raise average CPCs, PFOF §§ V.C.5.d.ii, and (3) rGSP,

which raised CPCs by inflating the runner up’s Ad Rank and sometimes randomly replaced the

winner with the runner up. PFOF §§ V.C.5.d.iii. Google adjusted these knobs in multiple,




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colorfully named launches (e.g. Momiji, PFOF §§ V.C.5.f.ii, Butternut, PFOF ¶ 659, and

Polyjuice, PFOF ¶ 666.). This harmed advertisers. PFOF ¶ 1162.

       Google also employs other tactics to increase prices. For instance, “thicker” auctions—

i.e., auctions with more participants—lead to higher prices. PFOF ¶ 622. Google artificially

thickened Text Ad auctions by loosening keyword matching standards so that advertisers’

keywords matched more search queries; Google then denied advertisers the option of opting out

of the expansions. PFOF ¶ 623. Google also reduced advertisers’ ability to manage their ad

spend and control the circumstances when their ad would be displayed. PFOF § V.C.4.a.

       Google’s lack of transparency with advertisers includes reducing the granularity of the

Search Query Report (SQR), a keyword performance report, PFOF ¶ VIII.D.2 and silently

adjusting the auction. PFOF § V.C.5.i.iii. Indeed, Google operates its Text Ad auction, the

foundation of its search advertising business, as a “black box.” PFOF § V.C.5.i.iii, ¶ 719. Thus,

Google does not inform advertisers how the quality of their ad is calculated or how their ad is

ranked in the Text Ad auction, nor does Google provide advertisers with actionable information

that would allow advertisers to improve the ad’s quality score. PFOF ¶¶ 721–724. As a result, if

an advertiser wants to improve their chances of winning the next Text Ad auction, the only

viable option is to increase its bid. PFOF ¶ 718.

       At trial, Mr. Dischler testified that Google does not typically inform search advertisers of

price changes, PFOF ¶ 714 (citing Tr. 1226:13–17), and auction-algorithm price increases may

go unnoticed by advertisers. PFOF ¶ 699 (citing UPX1054 at -060–61).

       B.      Advertisers Have No Alternatives

       When Google raises ad prices, it does so without considering what advertising rivals are

charging and without fearing that price increases could reduce revenue. PFOF §§ IV.B.5, ¶ 496

Instead, Google designed its auction to price Text Ads at the maximum amount an advertiser is


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willing to pay or “one penny less than the breaking point.” PFOF ¶¶ 677 (referencing UPX0036

at -067).

       Google can charge supracompetitive prices because no other GSE receives the query

volume required to accommodate a significant shift in business away from Google. PFOF

§ V.C.2. Mr. Lowcock explained:

               The primary purpose of advertising is to reach audiences and to
               reach people at scale . . . and “scale” means large audience sizes.
               And so the more scale a search engine has the more important it is
               to buy advertising on that platform. . . . [B]ased on market share,
               there’s a limit to the amount of keywords we could buy on Bing.

PFOF ¶ 606 (quoting Tr. 3834:8–3834:11, 3834:22–3835:01). Advertising and ad agency

witnesses—Tracy-Ann Lim, Managing Director and Chief Media Officer of JP Morgan Chase;

Arjan Dijk, Senior Vice-President and Chief Media Officer at Booking.com; Jeffrey Hurst, Chief

Operating Officer, Expedia Group; and Ryan Booth, Senior Manager of Paid Media at The

Home Depot—testified that no other GSE possessed the query volume required to accommodate

a meaningful shift of their search advertising budget away from Google. PFOF § V.C.2, ¶ 606.

       The Court should conclude that Google’s monopolies in the relevant markets allow the

company to raise advertising prices—and ad revenue—above competitive levels.

PFOF § V(C)(6), ¶ 1162 (citing Tr. 6159:9–16).

VI.    Google’s Purported Procompetitive Justifications Fail

       Google bears the burden to “specif[y] and substantiate . . . [its] claims” that its conduct

has actual and cognizable procompetitive benefits. PCOL § V.A.2 (citing Microsoft, 253 F.3d

at 66); see also id. (citing Dentsply, 399 F.3d at 196–97 (“[T]he burden shifts to [the defendant]

to show that [its exclusionary contractual provision] promotes a sufficiently procompetitive

objective.”). Google has not met this burden. As a threshold matter, Section 2 precludes Google

from justifying its search monopolies by claiming benefits in entirely different markets,


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PCOL § V.A.1, yet Google does exactly that. Regardless, Google’s made-for-litigation

justifications are unsupported and should be rejected outright.

       A.      Out-Of-Market Effects Do Not Excuse Monopolization Of A Relevant
               Market

       The Sherman Act protects from monopolization each of the relevant markets here—

general search services, Seach Ads, and Text Ads. Because harm to competition in relevant

markets cannot be excused by purported benefits elsewhere, Google must prove specific and

concrete benefits within those markets.

       Section 2’s focus on protecting competition in any relevant market derives directly from

its text, which prohibits monopolization of “any part of the trade or commerce among the several

States, or with foreign nations.” 15 U.S.C. § 2 (emphasis added). Once the Court identifies that a

product or service “makes up a relevant market[,] . . . domination or control of it makes out a

monopoly of a ‘part’ of trade or commerce within the meaning of § 2 of the Sherman Act.”

Grinnell, 384 U.S. at 572. The legislative history underscores the language’s importance: Senator

Sherman himself said that “[i]f we will not endure a king as a political power, we should not

endure a king over the production, transportation and sale of any of the necessaries of life.”

21 Cong. Rec. 3:2456–62 (daily ed. Mar. 21, 1890) (emphasis added).

       This plain meaning of the statutory text is confirmed by the Supreme Court’s

interpretation of Section 7 of the Clayton Act, which has analogous statutory text prohibiting

mergers that may harm competition “in any line of commerce” See Grinnell, 384 U.S. at 573

(“We see no reason to differentiate between ‘line’ of commerce in the context of the Clayton Act

and ‘part’ of commerce for purposes of the Sherman Act.”). In interpreting Section 7, the Court

held that anticompetitive effects in one market cannot be “justified by procompetitive

consequences in another.” United States v. Phila. Nat’l Bank, 374 U.S. 321, 370 (1963).



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       Similarly, Section 2’s plain meaning is confirmed by the elements of the monopolization

offense, which, when weighing procompetitive benefits, focus a court’s inquiry on the markets

allegedly monopolized. The offense has two elements, and procompetitive benefits are relevant

to the second: (1) “the possession of monopoly power in the relevant market” and (2) “the willful

acquisition or maintenance of that power through exclusionary conduct.” ECF No. 624, at 20

(emphasis added and quotation marks omitted). The focus is on “that power” that Google enjoys

in the relevant markets—not the state of competition in other markets.

       That point is underscored by the definition of exclusionary conduct, which case law

distinguish from “growth or development as a consequence of a superior product, business

acumen, or historic accident.” Id. (quoting Microsoft, 253 F.3d at 50, 58). Any purported benefits

of the conduct that remain outside of the relevant market do not improve the superiority of the

product at issue or the business acumen with which it is sold. Accordingly, such benefits cannot

resolve the distinction between exclusionary and permissible conduct.

       Although Section 1 of the Sherman Act does not have text analogous to the “any part” or

“any line of commerce” language in Section 2 and the Clayton Act, the Supreme Court has

cautioned against entertaining out-of-market benefits there as well. See United States v. Topco

Assocs., Inc., 405 U.S. 596, 610 (1972) (“[T]he freedom to compete . . . cannot be foreclosed

with respect to one sector of the economy because certain private citizens or groups believe that

such foreclosure might promote greater competition in a more important sector of the

economy”). Although some courts have noted uncertainty as to the treatment of the issue under




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Section 1, no court has suggested that the Supreme Court has rejected Topco and none

interpreted Section 2.17

          Focusing on protecting competition in relevant markets also reserves for Congress “value

judgments . . . whether competition in the collateral market is more important than competition

in the defined market,” In re NCAA Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239, 1270

(9th Cir. 2020) (Smith., J., concurring), and spares courts balancing in-market harms and out-of-

market benefits that often are not comparable, Smith v. Pro Football, Inc., 593 F.2d 1173, 1186

(D.C. Cir. 1978). Put simply, “[i]f a decision is to be made to sacrifice competition in one portion

of the economy for greater competition in another portion, this . . . is a decision that must be

made by Congress and not by private forces or by the courts.” Topco, 405 U.S. at 611. See Phila.

Nat’l Bank, 374 U.S. at 371 (“A value choice of such magnitude is beyond the ordinary limits of

judicial competence, and in any event has been made for us already, by Congress”). Even were it

administrable, permitting cross-market balancing would multiply the burdens and complexity of

litigation. Laura Alexander & Steven C. Salop, Antitrust Worker Protections: The Rule-of-

Reason Does Not Allow Counting of Out-of-Market Benefits, 90 U. Chi. L. Rev. 273, 295 (2023).

          Contrary to Google’s argument, the Supreme Court did not authorize consideration of

out-of-market benefits in Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451 (1992).

Def. Google LLC’s Opp’n to Pls.’ Mot. In Limine to Exclude Evid. Of Benefits Outside

Relevant Markets, ECF No. 645 (Def.’s MIL Opp’n) at 6 (Aug. 15, 2023). Google’s proffered

justifications—maintaining the quality of its service; reducing inventory costs; and preventing




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     The Supreme Court recently declined to consider whether a Section 1 defendant “may
     permissibly seek to justify its restraints in [one] market by pointing to procompetitive effects
     they produce in [another] market” because “the parties before us do not pursue this line.”
     NCAA v. Alston, 141 S. Ct. 2141, 2155 (2021).


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free riding on investments—all self-evidently impacted competition in the relevant market for

service and parts, and the Court did not address the specific issue of whether out-of-market

benefits are cognizable. Eastman Kodak, 504 U.S. at 482–86.

       Google also misreads Microsoft as authorizing cross-market balancing under Section 2.

ECF No. 645 (Def.’s MIL Opp’n) at 7. Microsoft directed the district court to consider on

remand (of the Section 1 claim) whether “the anticompetitive effect in the browser market is

greater than the[] benefits” from whatever justifications Microsoft “may offer” for the

tie. Microsoft, 253 F.3d at 96. The Court referenced justifications Microsoft had offered in

response to the Section 2 claim that potentially affected competition in both the browser and the

OS markets. Id. at 67. At that point in the proceedings, it was not apparent whether there would

be a cross-market issue, so the Microsoft court’s silence on how it would address a question that

might have followed proceedings on remand says little.

       Finally, there is nothing to read into the Supreme Court’s silence on the issue in resolving

a Section 1 claim in NCAA v. Bd. of Regents of the Univ. of Okla., 468 U.S. 85 (1984).

ECF No. 645 (Def.’s MIL Opp’n) at 7. There, it was enough that the justification in question

failed for lack of evidence and the “more fundamental reason” that it was “inconsistent with the

basic policy of the Sherman Act.” Bd. Of Regents, 468 U.S. at 116–17. And in Epic Games, Inc.

v. Apple, Inc., 67 F.4th 946, 989 (9th Cir. 2023), the court merely stated in the Section 1 context

that “[t]he Supreme Court’s precedent on this issue is not clear.” But even if ambiguity exists

under Section 1, the statutory text of Section 2 resolves the issue for the reasons stated above.

       B.      Google’s Procompetitive Justifications Lack Legal And Factual Support

       Google identifies several purported procompetitive justifications for its conduct. First,

that existing competition between search rivals for search defaults (i.e., “competition for the

contract”) justifies any harms to consumers within the relevant markets; second, that Google’s


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conduct benefits consumers through lower smartphone prices or more innovative browsers; and

third, that Google’s RSAs and MADAs lead to a more robust Android ecosystem. Each argument

fails on both the facts and law; none absolve Google’s misconduct.

               1.     “Competition For The Contract” Is No Defense To Monopolizing
                      General Search Services And Related Advertising Markets

       Google argues that its exclusive default agreements are justified because they result from

competition between Google and its search rivals for exclusive distribution of their products.

See PFOF ¶ 1231 (referencing Tr. 9768:23–9774:3) (Prof. Murphy describing Google’s

competition for the contract argument). That argument is inconsistent with Section 2 of the

Sherman Act and should be rejected outright, but even if it were a valid procompetitive

justification, it is inconsistent with trial evidence showing—again and again—that there is no

meaningful competition between Google and its search rivals for exclusive defaults.

                      a)      “Competition For The Contract” Is Not A Valid
                              Procompetitive Justification

       As a matter of law, “competition for the contract” cannot justify downstream harm to

consumers in the relevant markets. Even if Google’s exclusive default agreements were secured

through a competitive process (and they are not), Google’s defense fails because it leaves search

consumers and search advertisers unprotected from the harms of Google’s monopoly power.

       The fact that a distributor finds a contract profitable does not answer whether the contract

is unlawful under Section 2. Topco, 405 U.S. at 610 (the Sherman Act guarantees “the

preservation of economic freedom” for all in the United States). Even where a monopolist faces

some competition, contracts between a monopolist and distributors may harm competition.

See PCOL §§ III, IV.C.2 (exclusive dealing can be illegal by monopolist with less than 100%

market share or market coverage); Dentsply, 399 F.3d at 187 (“[E]xclusive dealing arrangements

can be an improper means of maintaining a monopoly.”).


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         Crediting Google’s argument would gut Section 2 enforcement whenever a monopolist

uses contracts to insulate itself from competition. A monopolist could deploy exclusive

distribution contracts injurious to competition so long as at least one rival hung on to bid for

those contracts. Under this view, the monopolist would not face Section 2 liability until it wiped

out every trace of competition. The Sherman Act provides no such safe harbor, as “monopoly

power may be restrained before its full wrath is felt.” Phila. World Hockey Club, Inc. v. Phila.

Hockey Club, Inc., 351 F. Supp. 462, 510 (E.D. Pa. 1972).18

                        b)      “Competition For The Contract” Would Not Prevent
                                Competitive Harms Even If It Existed

         The evidence at trial demonstrated that competition for the defaults would not cure the

anticompetitive harms stemming from Google’s exclusive default agreements because

(1) distributors and dominant firms, like Google, would still find it worthwhile to enter into

contracts that harm competition; (2) dominant firms are able to use some or all of their monopoly

profits when bidding for exclusive contracts; and (3) the nature of competing for exclusive

distribution makes competition less intense. Because Google would be all but assured to retain

exclusive search defaults, illusory upfront competition for those deals would provide no

meaningful check on Google’s monopoly power.

         First, neither distributors nor Google are proper stewards of the competitive process and

the public interest. See Microsoft, 253 F.3d at 58–59 (harm to the “competitive process” equals

“harm [to] consumers.”) (emphasis in original); Paramount Famous Lasky Corp. v. United

States, 282 U.S. 30, 44 (1930) (“The interest of the public in the preservation of competition is



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     In their brief opposing Google’s motion for summary judgment, Plaintiffs addressed cases and
     other authorities cited by Google in support of its competition-for-the-contract defense. All of
     the cases cited by Google are in inapposite for the reasons provided in that brief. See
     Pls.’ Mem. in Opp’n to Def. Google’s Mot. for Summ. J., ECF No. 476, at 27–30.


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the primary consideration.”). Distributors may agree to terms that maximize their revenue-share

payments at the expense of competition within the industry. PFOF ¶¶ 1232–1241. Because

dominant firms like Google have little interest in maintaining competition, there is room for

Google and distributors to reach a mutually beneficial deal that is not in consumers’ (or

distributors’) long-term interests. PFOF ¶¶ 1234–1237.

       Apple, for example, acknowledged that a significant factor weighing in favor of renewing

its ISA was the revenue share money it received. PFOF ¶ 1238. Although it may also account for

what was in the interests of its customers, Apple does not consider what is best for Android users

or seek to promote search competition generally, PFOF ¶ 1238, and, indeed, Apple has a track

record or prioritizing its corporate interests even when it costs its customers higher prices.

PFOF ¶ 1239; see also United States v. Apple Inc., 952 F. Supp. 2d 638 (S.D.N.Y. 2013), aff’d,

791 F.3d 290 (2d Cir. 2015).

       Second, competition for exclusive contracts in a monopolized market will always favor

the monopolist. A monopolist has a structural incentive to use its monopoly profits—which

competitors do not earn—to outbid its rivals to prevent the emergence of competitive conditions.

PFOF ¶¶ 1242–1244. Indeed, as Mr. Nadella observed, “[r]ight now there is basically [a] status

quo,” with Google, “the dominant player in search . . . paying a lot of money to maintain [its]

share position.” PFOF ¶ 1244.

        Third, the winner-take-all nature of bidding for exclusive defaults weakens competition

across the board as smaller and specialized rivals have less incentive to compete when their only

option is competing for every query. PFOF ¶¶ 1245–1248. For example, currently DuckDuckGo

must compete to be the exclusive default search engine for every user and every query on Apple

devices. If DuckDuckGo was able to compete to be the default within private browsing mode,




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it would have a greater chance of success and an increased incentive to compete. Winning the

default for private browsing mode would enable DuckDuckGo to access scale needed to improve

its product and compete better against Google across the board. PFOF ¶¶ 1246–1247.

                      c)      In A Monopolized Market, “Competition For The Contract” Is
                              Illusory

       Google’s “competition for the contract” defense is also undermined by the overwhelming

evidence that there is minimal actual competition between Google and its rivals for search

defaults. PFOF ¶¶ 1249–1250. Distributors do not view small search engines like DuckDuckGo

as alternatives to Google, and because of conditions created by Google’s dominance, even Bing

cannot meaningfully compete for exclusive default contracts. PFOF ¶¶ 1251–1252. Trial

evidence showed that Bing offered Apple a 100% (or more) revenue share and still came up

short against Google in a competition for the contract. PFOF ¶¶ 1263–1272. Indeed, Google’s

“Alice in Wonderland” analysis—so named to suggest the outcome was a dream sequence—

showed that Bing would need to offer Apple a 122% revenue share just to match Google’s

33.75% revenue share payments. PFOF ¶ 1266. That analysis is consistent with one

Ms. Kartasheva prepared for Android. PFOF ¶¶ 814–817.

       Unsurprisingly, the trial record revealed no instances in nearly a decade where a rival

search engine won a “competition” against Google for default distribution on any browser or

smartphone in the United States. PFOF ¶ 1262. The most recent example came in 2014, when

Yahoo outbid Google to be the Mozilla Firefox default. But that episode illustrates why rivals

have failed to secure defaults since. PFOF ¶ 1257. To outbid Google, Yahoo had to guarantee

Mozilla at least $375 million per year, PFOF ¶ 1259, despite Firefox’s sharply declining,

desktop-focused customer base, ¶ 1260. To meet this guarantee, Yahoo loaded its search pages

with ads, resulting in a poor user experience and Mozilla’s return to Google. PFOF ¶ 1261.



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               2.     Google Has Not Shown That Its Exclusionary Conduct Creates
                      Benefits in the Smartphone and Browser Markets, Let Alone That
                      Such Benefits Redound To The Relevant Markets

       The Court should also reject Google’s arguments that its exclusionary distribution

agreements benefit consumers in the smartphone and browser markets because Google has not

shown that payments to smartphone distributors or third-party browser companies are passed

through to consumers, result in lower phone prices and better browsers, or benefit consumers in a

relevant market. Instead, the evidence establishes that Google’s arguments are largely pretextual.

                      a)      Google Has Not Shown That Payments Result In Lower Device
                              Prices Or How Any Such Reductions Affect Search

       Google argues that its payments to smartphone distributors result in lower phone prices,

but that purported justification is factually unsupported and legally misguided.

       First, even if there were evidence of passthrough, consumer welfare would increase if

Google lost its monopoly over general search services in the United States. PFOF ¶ 1298.

Google’s revenue-share payments to Android partners in Europe increased after the introduction

of the choice screen as Google took steps to stave off the threat that newly emboldened rivals

might otherwise “secure full search exclusivity” on Android phones. PFOF ¶ 1299. This makes

economic sense. Competition in the general search services market benefits distributors by

improving their negotiating leverage and increasing the revenue-share payments they extract for

defaults. PFOF ¶ 1299. Hence, even assuming Google’s unproven premise that revenue-share

payments are passed through to consumers, more competition among GSEs in the United States

should result in greater pass-through and lower phone prices in a competitive market.

       Second, Google’s pass-through claim fails for lack of evidence. See generally FTC v.

Arch Coal, Inc., 329 F. Supp. 2d 109, 116–17 (D.D.C. 2004) (“antitrust theory and speculation

cannot trump facts”). Google’s defense rests purely on economic theory, not on documents,



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testimony, or empirical analysis. PFOF ¶ 1288. Nothing in Google’s distribution contracts

require Google’s partners to use the revenue-share payments to reduce phone prices, and there is

no testimony that any company that distributes devices in the United States does so.

PFOF ¶¶ 1282–1284. Indeed, executives at Apple and T-Mobile both testified that Google’s

revenue-share payments do not directly factor into phone prices. PFOF ¶¶ 1282–1283.

       Third, even if Google’s payments do lower phone prices by some unspecified amount,

Google has not proven any link between smartphone prices and competition in search. To

establish lower phone prices as procompetitive, Google has to make what its counsel referred to

as a “bank shot”—showing that effects in the (nonrelevant) phone market affect the (relevant)

search services market. See Hr’g Tr. (Sept. 8, 2022), at 238:25–239:18. Google’s shot failed to

bank. Neither Google nor its experts even attempted to isolate or quantify the alleged effects of

Google’s payments to phone distributors on the general search market. PFOF ¶¶ 1285–1286,

1293. Although Google’s Prof. Murphy noted increased output in the search market over the

years, which he interprets as evidence that Google’s contracts have made searching on mobile

phones and browsers easier, he acknowledged that he could not tie that output increase to phone

prices. PFOF ¶ 1301. Many external factors may have caused the increase in search, including

the growth of the Internet, the adoption and now ubiquity of smartphones, expanded access to

broadband, and improvements in mobile telecommunications technology. PFOF ¶ 1302.

       Moreover, there exist several less restrictive means by which Google could lower

smartphone prices. PFOF § X.B.2.c. Among other things, Google could untether its revenue-

share payments from restrictive search agreement terms, as it has done with its Mobile Service

Incentive Agreements. PFOF ¶ 1308. Google has not and cannot explain why this as well as

other less restrictive alternatives would be ineffective.




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       Finally, Google’s pass-through defenses are pretextual, made-for-litigation excuses with

no basis in the company’s ordinary-course documents. PCOL § V.A.4; Microsoft, 253 F.3d at 59

(procompetitive justification must be “nonpretextual”). Outside of trial, there is no evidence that

Google executives ever consider how revenue-share payments will affect smartphone prices,

including when Google plans cuts to partners’ revenue share payments. PFOF ¶ 1286. Trial

testimony and contemporaneous documents indicate that Google negotiates distribution

agreements for a single purpose: search exclusivity. See, e.g., PFOF ¶¶ 798–802, 813, 823.

                       b)      Google Has Not Shown Benefits In The Browser Market Or
                               How Any Such Benefits Affect Search

       Google further argued that its exclusive default agreements promote competition in the

browser market, but that argument lacks factual support. It is also pretextual and premature.

       As an initial matter, Google has not shown that its revenue-share payments to third-party

browser developers result in more innovation or better products, and Google has not identified

any specific features or product innovations that were introduced because of Google’s revenue-

share payments. PFOF ¶ 1294. There is also no evidence that, for example, the Firefox browser

would see a decline in traffic if it offered users a choice screen, and as noted above, greater

competition among search engines is likely to increase the revenue earned by distributors like

Mozilla. See supra § VI.B.2.a. Google’s economist argued that revenue-share payments

comprise the majority of Mozilla’s annual revenue, but that datapoint is not dispositive alone

when Mozilla uses that revenue for a variety of purposes, including the development of products

and initiatives unrelated to the Firefox browser. PFOF ¶¶ 1295–1296.

       Further, even assuming browser companies use Google’s payments to improve their

products, Prof. Murphy made no attempt to determine what portion of Google’s revenue-share

payments to those companies were used for product improvements and innovations as opposed,



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for instance, to executives compensation packages. See PFOF ¶¶ 1293–1296. Nor has Google

cited a single qualitative or quantitative analysis linking browser design to benefits in the search

market, other than Prof. Murphy’s flawed observation that search output has increased over the

years. PFOF ¶¶ 1301–1302. Moreover, Google’s browser arguments again require the Court to

engage in cross-market balancing, and Google has not explained why less restrictive options,

including block grants to Mozilla and other third-party browsers, are not available.

       Google’s argument is also pretextual. Google introduced no internal documents where its

employees contemplate Mozilla’s destruction without the exclusive default agreement or justify

the revenue-share payment on the basis that it would increase search output. Indeed, Google did

not identify any documents where it concluded that consumers were better off with Mozilla in

the browser market. And for good reason. As the maker of Chrome, Google competes with, and

presumably tries to replace, Mozilla installations. Google pays for exclusive default distribution

because doing so is profitable—not to support rival browsers. PFOF ¶ 933. Certainly, if Google

wants to support Firefox, it can do so without exclusivity.

       Finally, Google’s plea for Firefox presupposes a remedy that the Court could impose.

Browser companies can still receive substantial revenue-share payments even without an

exclusive default deal with Google, and many do. For instance, both Apple and Mozilla receive

revenue-share payments from other search engines—including Bing and DuckDuckGo—for

non-exclusive default traffic (at higher rates than the browsers get from Google). PFOF ¶¶ 38,

1307, 1321. And in Russia, the leading search engine, Yandex, pays a 20% revenue share to

appear on the Android choice screen—again                           revenue share that Google pays

Mozilla for the Firefox default in the United States. PFOF ¶ 1321.




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               3.      Google Has Not Shown That Its Conduct Benefitted Android Users

       Google argues that its Android distribution agreements are procompetitive in that they

enhance competition with Apple’s iOS by sustaining Google’s business model for the Android

ecosystem, incentivizing Android partners to make security updates, and promoting consistency

across brands of Android devices. The Court should reject these as unproven, unlikely to benefit

consumers in relevant markets, and not the least restrictive means of achieving their proffered

ends. Moreover, the Court should reject each as pretextual.

                       a)     Google Failed To Prove That, Without Exclusive Search
                              Distribution, It Would Lack Incentives To Support Android

       Google argues that without the search exclusivity provisions in the MADA and RSA,

Google would have little incentive to invest in Android, undermining competition in the

smartphone market. But like Google’s other justifications, this argument is contradicted by the

evidence and lacks a persuasive link to competition in the relevant search markets.

       To begin, Google proved neither (1) that Google would lack incentives to support the

Android operating system if it could no longer exclude general search rivals from Android

phones nor (2) that Android’s competitiveness against the iPhone would suffer as a result.

PFOF ¶ 1316. Just the opposite is true: Google continues to invest in Android in Europe and

Russia (where Android users have a choice screen) and Android’s market share has fallen less

than in the United States (and in Russia’s case, actually improved). Id.

       Separate from search exclusivity, Google has substantial financial incentives to invest in

Android. Google makes billions in fees every year from the Google Play Store. In 2020, Google

projected that over four years it would earn $   billion in Play Store revenue from Samsung

devices alone. PFOF ¶ 1313. Google, moreover, uses the Android platform to distribute and

monetize other flagship applications, including YouTube, Google Maps, Gmail, and Google



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Drive. PFOF ¶ 1312. Google also makes and sells Pixel smartphones, which rely on Android.

PFOF ¶ 1315. Thus, even if a rival captured all search access points on Android, Google would

continue to have enormous financial incentives to grow the Android platform.

       Google also has not explained how Google’s purportedly diminished incentives to invest

in Android would affect competition in the general search services market. Indeed, Google’s

expert testified that removing exclusivity from Android distribution would have had only minor

effects on search. PFOF ¶ 975 (citing Tr. 10013:14–10014:3). Nor has Google explained why

default exclusivity is necessary to facilitate competition between Google and Apple in the

smartphone market (even assuming that competition could justify harms to consumers in the

search market). There exist several less restrictive means by which Google could support the

Android ecosystem, as it already purports to do through its Mobile Service Incentive Agreements

without restrictive search exclusivity terms. PFOF ¶¶ 1308, 1342.

                      b)      Google Has Not Shown that its Android Agreements Are
                              Procompetitive Because They Standardize the User Experience

       Similarly, the Court should reject Google’s argument that its Android contracts benefit

consumers by creating a consistent user interface across Android.

       There is no evidence that Google’s exclusive search requirements promote competition

against Apple by standardizing the user experience across Android devices. On the contrary,

evidence showed that both Android OEMs and Android users dislike the flagship search feature

required by Google’s contracts: the Google Search Widget. According to Hiroshi Lockheimer,

Google’s Sr. VP of Android, “Users generally are tired (visually) of our widget. It’s in the

middle of the screen, obscures your family picture, etc.,” while “OEMS are VERY tired

(visually) of our widget.” PFOF ¶ 1324 (citing UPX0128 at -547). It hardly promotes

competition against Apple to mandate an unpopular feature simply because it generates search



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queries for Google. If the Search Widget was well-liked by consumers, Google would not need

to compel Samsung and the major phone carriers to install it. PFOF ¶ 1328 (citing Tr. 10539:21–

10540:10).19

         Even if consistency among Android brands promotes competition against Apple to some

degree, it hampers the competition among Android makers. Android OEMs—including

Samsung, Google (Pixel), and Motorola—compete against each other by differentiating their

devices. Jamie Rosenberg, a former Google VP, testified that intra-brand competition produces

actual consumer benefits, including innovations such as the foldable phones now offered by

Samsung, Google, and Motorola. PFOF ¶ 1325.

         Regardless, even assuming Google’s professed need to create consistency among

different Android brands, it is not a valid procompetitive justification for additional reasons.

First, Google has offered no evidence that a consistent Android interface improves competition

in the relevant search markets. The Android-consistency argument therefore hinges on improper

cross-market balancing. Second, there are obvious, less-restrictive means of achieving phone

consistency. For example, Google could offer a consistent choice screen on all Android

phones—as it once insisted Microsoft do and as Google currently does in Russia and Europe.

PFOF ¶¶ 742, 910–911, 1087, 1305, 1342. Third, Google has offered no basis to conclude that

any incremental benefit from increased consistency across Android phones outweighs the harm

to competition from excluding GSE rivals from those devices. Fourth, Google’s proffered

interest in using the challenged provisions in the MADAs and RSAs to compete against Apple




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     With respect to browsers, Android phones do not provide a consistent user experience in any
     event. Samsung phones come with two browsers preinstalled—the Samsung S Browser and
     Chrome—whereas other Android brands (such as Google Pixel) come with only Chrome.
     PFOF ¶¶ 42, 781.


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finds little contemporaneous support. To the contrary, communications between Google

executives over the years have consistently suggested that search exclusivity was Google’s

primary goal in negotiating search distribution agreements with Android partners. PFOF ¶ 283

(citing UPX2093 at -398), 798 (citing Tr. 332:12–334:1), 813 (citing UPX0134).

                       c)      Google Has Not Shown That Its Android Agreements Are
                               Necessary For Pushing Security Upgrades

       Google has argued that its Android contracts are procompetitive because they encourage

Android OEMs and carriers to push out security upgrades. But that argument fails for at least

three reasons. First, to ensure that users have a high-quality experience with their phones,

Android distributors such as Samsung have independent incentives to push out security updates,.

PFOF ¶ 1343. Even if Google did not require security updates, Android partners would have

every reason to make them—just as Apple does (without any apparent third-party oversight).

       Second, Google need not tie security updates to search exclusivity. PFOF ¶¶ 1343–1344.

As Mr. Pichai admitted, Google could provide separate financial incentives to Android OEMs

and carriers to provide security updates. PFOF ¶ 1344 (citing Tr. 7718:16–7719:1). Accordingly,

there is an obvious, less-restrictive alternative to achieve the competitive benefits of prompt

security updates. PCOL § V.A.5 (less-restrictive alternatives).

       Third, even crediting Google’s security update justification, the harm resulting from the

loss of competition in general search far outweighs any benefit from additional security

updates—particularly given Android distributors’ (and users’) incentives to make those updates.

                       d)      Google’s Arguments That The MADAs And RSAs Help
                               Android Compete Against Apple Are Pretextual

       Finally, Google’s argument that its MADAs and RSAs are procompetitive because they

help Android compete against iOS is fatally undermined by Google’s conduct with respect to

Apple. Google’s revenue-share payments under the ISA hand Apple billions every year to


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compete against Android. PFOF ¶¶ 935, 1318–1319. No Google witnesses or trial exhibit

suggested the company should curtail those payments to shore up Google’s competitive position

vis-a-vis Apple in the smartphone market. And every time an Android user switches to the

iPhone, Google still earns substantial revenue as the default search engine on Apple devices.

PFOF ¶¶ 1319–1320. Google’s argument should be rejected as pretextual.

VII.   In The Event Google Demonstrates A Non-Pretextual Procompetitive Justification
       For Its Conduct, The Harm Outweighs Any Procompetitive Benefit

       Should the Court determine that Google has offered a non-pretextual procompetitive

justification for its conduct, which it did not, the harm to competition outweighs any

procompetitive benefit. PCOL § V.B (citing Microsoft, 253 F.3d at 58–59).

       Notably, as demonstrated in Plaintiffs’ brief and supporting proposed findings of fact, the

voluminous trial record confirms that Google’s longstanding use of contracts to weaponize

defaults has harmed competition in a number of critical ways, such as depriving rivals of the

scale necessary to improve; reducing the incentive for Google, its rivals, and potential rivals to

compete; and restricting Apple and Branch from growing their nascent technologies. See supra

§ III. Google’s contracts with Apple, Android partners, and third-party browsers are exclusive

and substantially foreclose competition in each relevant market. See supra § IV. Google has not,

and cannot, point to any purported benefits that outweigh these significant harms.

VIII. Google’s Destruction And Concealment Of Evidence Show Its Anticompetitive
      Intent And Warrants Sanctions

       In addition to determining that Plaintiffs have demonstrated a monopoly maintenance

claim, the Court should sanction Google for its systemic destruction of documents and flagrant

misuse of the attorney-client privilege, both strong indicators that Google knows its conduct is

unlawful. Given the prejudice to Plaintiffs and Google’s intent to deprive Plaintiffs of relevant

and responsive documents, PFOF § IX.A, the following sanctions are warranted: a presumption


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that deleted chats were unfavorable to Google regarding the intent behind and effect of Google’s

contracts; a presumption that Google’s proffered justifications are pretextual; a presumption that

Google intended to maintain its monopoly; a prohibition on argument by Google that the absence

of evidence is evidence of its absence; and any other relief the Court finds proper.

       Google’s efforts to curate its documentary record dates to at least 2003. That year,

Dr. Varian warned Google’s founders that its role as the “dominant player” in search could

eventually raise antitrust concerns and cautioned them to limit what they put in writing “in both

public and private” to avoid creating evidence for a possible antitrust case. PFOF ¶ 1225 (citing

UPX0151). Google’s subsequent efforts at destroying chats and creating fake privilege claims

implemented Dr. Varian’s advice and demonstrate anticompetitive intent.

       A.      Google Used “History Off” Chats To Destroy Substantive Communications

       Google adopted and maintained a chat-destruction policy to hide communications from

litigants and regulators, including the Department of Justice’s Antitrust Division.

       In 2008, Google enacted an internal policy setting its chat default to “history off.” In

announcing the policy, Mr. Walker explained that the Antitrust Division’s investigations of the

company’s practices—at that time, a scheme to reduce competition between itself and Yahoo—

motivated the change. In particular, Mr. Walker explained that the history-off approach was

being adopted to “streamline and simplify” the process of reviewing and “producing documents

in regulatory and litigation matters” and “help avoid inadvertent retention of instant

messages.” PFOF ¶ 1199 (citing UPX1101 at -619–20). Avoiding “inadvertent retention” is, by

definition and logic, intentional destruction.

       Until February 2023, Google’s policy ensured that all chat messages would be

permanently deleted after 24 hours unless an individual user affirmatively preserved them by

activating the “history on” function. PFOF ¶ 1213. Google maintained this policy through


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countless litigations and Government investigations. And it did so while recognizing that Google

employees discussed substantive issues in “history off” chats—including MADAs and RSAs.

PFOF ¶¶ 1193, 1202–1203, 1216. For example, Mr. Rosenberg and Mr. Kolotouros each

testified that, in a “history off” chat, they discussed including revenue from the Play Store in

Samsung’s 2020 RSA. PFOF ¶ 1203 (citing Tr. 971:8–11, Tr. 9557:4–10, Tr. 9557:20–9558:4).

       Although Google employees could affirmatively change their default chat settings from

“history off” to “history on,” trial witnesses—starting at the top with Mr. Pichai—confirmed that

they generally do not make this change. PFOF ¶ 1216. Remarkably, Mr. Pichai testified that he

both knew (1) he had an obligation to preserve his chat messages and (2) that those messages

were not being preserved. PFOF ¶ 1211. Worse, trial witnesses testified that they have

specifically asked other employees to turn a chat to “history off.” For example, Google VP of

Search Pandu Nayak “certainly” asked people to turn their chats to “history off” and did so

because “at the time there was a policy at Google to have history off.” PFOF ¶ 1208 (citing

Tr. 6468:4–9). As he explained, “I just wanted to be compliant with that policy.” Id. Other

Google employees confirmed turning chats to “history off” for substantive issues in the case,

such as SA360. PFOF ¶ 1209. Google’s history-off policy sits in contrast to its practice regarding

user search activity data, which Google maintains for 18 months by default. PFOF ¶¶ 1152,

1154–1156.

       As a matter of course, Google could easily preserve chat messages if it wanted to.

PFOF ¶ 1212. Instead, Google left chat preservation to individual employees, even when those

individuals were under a litigation hold. But abdicating that responsibility to individuals created

the obvious risk that employees would not (and, indeed, in documented instances, did not)

preserve responsive documents. For example, Ryan Krueger, Product Manager for Google




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Search Ads 360 Smart Bidding, Performance, and Planning, interpreted his legal hold in this case

not to cover chats because they were “informal” conversations that were “free form” rather than

“well thought out and reviewed.” PFOF ¶ 1215 (citing Tr. 4338:25–4341:1). Notably,

Mr. Krueger discussed SA360 over chat. PFOF ¶ 1209. For his part, Mr. Kolotouros discussed

Samsung Wear Play over chat while on a litigation hold even though wearable technology was

part of the DOJ Plaintiffs’ Amended Complaint. PFOF ¶ 1214.

       Google’s conduct was intentional. Google recognized that its efforts to maintain its

search monopoly would likely draw antitrust scrutiny and hoped to prevent or postpone a day of

reckoning for its unlawful conduct. Google engineered its policy of evidence curation in

response to and in anticipation of regulatory scrutiny. And years’ worth of chats—likely full of

relevant information—were destroyed in accordance with Google’s history-off “policy.” There is

no way to know what relevant evidence was destroyed. But Google’s successful destruction of

employee chats shows that Google knew its practices were likely in violation of the antitrust

laws and wanted to make proving that impossible. Such misconduct demands heavy sanction.

       B.      Google Trained Its Employees To Misuse Attorney-Client Privilege When
               Discussing The MADA Or RSA

       Google encouraged employees to shield communications from litigation by copying

attorneys on non-privileged communications as part of its “Communicate With Care” efforts.

       The trial record reveals a calculated practice aimed at circumventing Google’s document

production obligations. Specifically, Google trains its employees to include attorneys on “any

written communication regarding RevShare and MADA.” despite taking the opposite approach

for in-person meetings on those same issues. PFOF ¶ 1222 (citing UPX0320 at -605). Employees

were instructed to ask a question and—to complete the fake-privilege package—assert privilege

in the document. Google employees complied with this training. PFOF ¶ 1223. Mr. Kolotouros



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copied attorneys on all written communications regarding the RSA and MADA and whenever

discussing contractual terms. PFOF ¶ 1223 (citing Tr. 958:16–959:6, 961:10–19, 963:14–19).

Similarly, Ms. Kartasheva marked as attorney-client privileged an email she sent to her second-

level supervisor, Mr. Rosenberg, because the email “discuss[ed] a revenue share proposal.”

PFOF ¶ 1223 (citing Tr. 2866:9–2867:1).

       At trial, Google’s senior executives admitted that they marked non-privileged documents

as privileged to maintain their confidentiality. Most notably, Mr. Pichai admitted that he has used

“attorney-client privilege” markings on emails where he was not seeking any legal advice but

wanted to indicate it was confidential. PFOF ¶ 1224 (citing Tr. 7726:3–16). Ms. Braddi asked

counsel to mark an email and attached slide decks monitoring revenue-share payments to Apple

as privileged even though she did not seek legal advice. PFOF ¶ 1223 (citing Tr. 4937:10–

4938:14). For his part, Mr. Rosenberg added a lawyer to an email before using “some trigger

words” when discussing AT&T’s RSA negotiation. PFOF ¶ 1227 (citing UPX0997 at -065).

       Google’s fake-privilege project worked. Google’s outside counsel relied on the improper

privilege requests to withhold documents from production in this case. Even after multiple

rounds of re-review, Google still abandoned privilege on 12% (26 of 210 documents) of the

random sample the Court requested for review in chambers, demonstrating that Google closely

reviewed documents marked as “privileged” only when it was clear Google would finally be held

accountable. PFOF ¶ 1229.

       Google’s conduct—including express instructions for employees to use privilege to hide

discussions of the MADAs and RSAs at the heart of this case—demonstrates that Google

intended to harm competition through its contracting practices and its supposed procompetitive

justifications were simply pretext.




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                                        CONCLUSION

       As Plaintiffs demonstrated at trial, Google’s illegal conduct has allowed it to maintain

durable monopolies in general search, search ads and general search text ads that harm

competition. The Court should hold that Google has violated Section 2 of the Sherman Act.




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